                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

BECTON, DICKINSON AND COMPANY                      )
and CELLULAR RESEARCH, INC.,                       )
                                                   )
                        Plaintiffs,                )
                                                   )
            v.                                     )    C.A. No. 18-1800 (RGA)
                                                   )
10X GENOMICS, INC.,                                )    DEMAND FOR JURY TRIAL
                                                   )
                        Defendant.                 )


                                FIRST AMENDED COMPLAINT

       Becton, Dickinson and Company (“BD”) and Cellular Research, Inc. (“Cellular

Research” and collectively with BD, “Plaintiffs”) hereby allege for their First Amended

Complaint against Defendant 10X Genomics, Inc. (“10X,” or “Defendant”), as follows:

                                      NATURE OF THE ACTION

       1.        This is an action for patent infringement arising under the United States Patent

Act, 35 U.S.C. §§1 et seq., including 35 U.S.C. § 271.

       2.        BD and Cellular Research bring this action to seek relief for 10X’s infringement

of Plaintiffs’ rights arising under the Patent Laws of the United States 35 U.S.C. §1, et. seq.,

from U.S. Patent Nos. 8,835,358, 9,845,502, 9,315,857, 9,816,137, 9,708,659, 9,290,808, and

9,290,809 (collectively the “Fodor patents”), and from U.S. Patent Nos. 9,567,645, 9,567,646,

9,598,736, and 9,637,799 (collectively the “Fan patents” and collectively with the Fodor patents,

“the Asserted Patents”).




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                                         THE PARTIES

       3.      BD is a corporation organized and existing under the laws of New Jersey, with its

principal place of business at 1 Becton Drive, Franklin Lakes, NY 07417. BD is the current

owner by assignment of each of the Fodor and Fan patents.

       4.      Cellular Research is a corporation organized and existing under the laws of

Delaware, with its principal place of business at 4040 Campbell Avenue, Suite 110, Menlo Park,

CA 94025. Cellular Research was the previous owner by assignment of each of the Fodor and

Fan patents.

       5.      Upon information and belief, 10X is a company organized and existing under the

laws of Delaware, with its principal place of business at 7068 Koll Center Parkway, Suite 401,

Pleasanton, CA, 94566.

                                JURISDICTION AND VENUE

       6.      This action for patent infringement arises under the patent laws of the United

States, Title 35 of the United States Code.

       7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       8.      This Court has personal jurisdiction over defendant 10X because, inter alia, 10X

is incorporated in Delaware, and committed, aided, abetted, induced, contributed to, and/or

participated in the commission of tortious acts of patent infringement that have led to foreseeable

harm and injury to Plaintiffs in Delaware, 10X has substantial contacts with the forum as a

consequence of conducting business in Delaware.

       9.      Venue is proper in this District under 28 U.S.C. § 1400(b) because 10X is a

Delaware corporation.




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                                        BACKGROUND

       10.     Cellular Research is a pioneering biotechnology research and development

company founded in 2011 by innovators from Silicon Valley and Stanford University. Cellular

Research’s mission is to revolutionize life science research by enabling high resolution

investigation of single cells and limited biological samples. Cellular Research developed

advanced tools for massively parallel single cell genetic analysis based on their proprietary

Molecular Indexing™ technology to produce gene expression profiles from single cells. Its first

two product lines Pixel™ and Precise™ delivered the power of Molecular Indexing™ to

customers interested in high accuracy and precision for gene expression studies.

       11.     BD is a global medical technology company that is advancing the world of health

by improving medical discovery, diagnostics and the delivery of care. BD leads in patient and

healthcare worker safety and the technologies that enable medical research and clinical

laboratories. The company provides innovative solutions, including products that help advance

medical research and genomics, and enhance the diagnosis of infectious disease and cancer.

       12.     In 2015, BD acquired Cellular Research, which set the stage for the next

generation of commercial tools in the field of single cell genomic analysis, widely acknowledged

by leading academic and industry researchers as the next frontier of biological discovery and

clinical advancement.

       13.     The BD Rhapsody™ Single Cell Analysis System leverages innovations from

Cellular Research. The BD Rhapsody™ system enables digital quantitation of hundreds of

expressed genes across tens of thousands of single cells, provides customized assays that are

flexible enough to meet any experimental need, and comprises an efficient system that reduces

experimentation time and sequencing costs.




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       14.     BD’s past and future success as a company rests on its ability to continuously

bring new innovations to market, including innovations such as the BD Rhapsody™ system for

genomic and gene expression analysis, and in protecting those innovations, including the

inventions claimed in the Fodor and Fan patents.

       15.     The Asserted Patents relate to fundamental technologies for single molecule

digital counting (Fodor patents) and single-cell multiplex analysis (Fan patents) platforms. The

Asserted Patents contribute to BD’s reputation as an industry leader in single molecule counting

and single cell analysis technologies and help protect BD’s significant investment to design and

develop innovative solutions for its customers.

       16.     10X has infringed and continues to infringe the Asserted Patents by making, using

(including during research and development activities and product testing), offering for sale,

selling and/or importing at least 10X’s single cell solutions and workflows, or inducing or

contributing to such acts.

       17.     10X’s infringement has been and continues to be willful. At least since about

May 2017, 10X has had knowledge of the Asserted Patents, has recognized their value, and has

also recognized that it needs a license to the Asserted Patents in order to make, use, sell, offer to

sell and/or import at least its single cell solutions and workflows. 10X has not obtained such a

license. Nevertheless, 10X has continued its infringement with knowledge of the Asserted

Patents and recognition of its need for a license.

                      OVERVIEW OF 10X INFRINGING PRODUCTS

       18.     As examples, set forth below are preliminary exemplary descriptions detailing

10X’s infringing products. These descriptions are not intended to limit Plaintiffs’ right to

amend, supplement or modify these descriptions or any other analysis, description, or claim chart




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or allege that other activities of 10X infringe the identified claims or any other claims of these

patents or any other patents.

          19.    Defendant manufactures, uses, sells, offers for sale and/or imports instruments,

kits, reagents, software, and parts and training kits combined into, inter alia, a “Single Cell Gene

Expression Solution” (hereinafter “Single Cell 3’ Workflow”), a “Single Cell Immune Profiling

Solution” (hereinafter “Single Cell 5’ Workflow”), and a “Spatial Transcriptomics” product

(hereinafter “Spatial Transcriptomics Workflow”). Defendant manufactures, uses, sells, offers

for sale and/or imports the Spatial Transcriptomics Workflow as indicated on its website.1 The

website for the Spatial Transcriptomics products indicates that it is “[p]art of 10x Genomics”

identifies its “[c]ontact” as “10x Genomics,” and states that it is “pleased to announce that we are

now part of 10x Genomics.”2 In addition, upon information and belief, 10X acquired Spatial

Transcriptomics AB in or around December 2018, and 10x controls, manages, supervises and

directs the companies’ efforts relating to the Spatial Transcriptomics Workflow.

          20.    Defendant’s Single Cell 3’ Workflow and the Single Cell 5’ Workflow are for

profiling gene expression of single cells by assessing nucleic acid contents of cells and involve

steps of labelling cellular nucleic acids with barcode nucleic acids, to thereby obtain information

relating to mRNA expression profiles for individual genes in a cell. Defendant’s Spatial

Transcriptomics Workflow is for spatial gene expression profiling from biological samples

involving steps of labelling cellular nucleic acids with barcode nucleic acids to thereby obtain

information relating to spatial mRNA expression profiles for individual genes in a sample. BD

reserves the right to assert infringement against other of Defendant’s products, including its




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    See https://www.10xgenomics.com.
    See https://spatialtranscriptomics.com.

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ATAC and CNV products, to the extent evidence of such infringement is obtained through

discovery.

                     SINGLE CELL 3’ WORKFLOW ACCUSED PRODUCTS

         21.    Defendant’s Single Cell 3’ Workflow provides a “scalable solution for cell

characterization and gene expression profiling of hundreds to millions of cells” that is used to

perform “millions of parallel reactions to enable gene expression profiling at scale with single

cell resolution.”3

         22.    Defendant’s Single Cell 3’ Workflow is also known as “Single Cell Gene

Expression,” and “Chromium Single Cell 3’.” On information and belief, Defendant’s Single

Cell 3’ Workflow is sold in two “Gene Expression Versions” called “Gene Expression v2” and

“Gene Expression v3.”

         23.    As shown in Defendant’s own literature, Defendant itself markets, and sells

various instruments, reagents, software, and parts and training kits as a single “solution” for the

Single Cell 3’ Workflow Gene Expression v2 product and describes that “solution” in a single

“Product Sheet.”4




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    https://www.10xgenomics.com/solutions/single-cell/
    ProductSheet_PS016_SingleCell3PrimeGE_ProductSheet.pdf; see also Exhibit 32.

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              24.    On information and belief, reagents sold by Defendant for the Single Cell

3’ Workflow Gene Expression v2 include the “Chromium Single Cell 3’ Library & Gel Bead Kit

v2, 16 rxns” (Product ID 120237), the “Chromium Single Cell 3’ Library & Gel Bead Kit v2, 4

rxns” (Product ID 120267), “Chromium Single Cell 3’ Library Kit” (Product ID 120230), and

the “Chromium Single Cell 3’ Gel Bead Kit” (Product ID 120231).

              25.    On information and belief, the “Chromium Single Cell 3’ Library & Gel

Bead Kit v2, 16 rxns” (Product ID 120237) comprises the “Chromium Single Cell 3’ Library Kit




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v2, 16 rxns” (Product ID 120234) and the “Chromium Single Cell 3’ Gel Bead Kit v2, 16 rxns”

(Product ID 120235).

              26.      On information and belief, the “Chromium Single Cell 3’ Library Kit v2,

16 rxns” (Product ID 120234) comprises RT Reagent Mix (Product ID 220089), RT Enzyme

Mix (Product ID 220079), Additive A (Product ID 220074), RT Primer (Product ID 310354),

Buffer Sample Clean Up 1 (Product ID 220020), Amplification Master Mix (Product ID

220125), cDNA Primer Mix 1 (Product ID 220106), cDNA Additive 1 (Product ID 220067),

Fragmentation Enzyme Blend (Product ID 220107), Fragmentation Buffer (Product ID 220108),

Ligation Buffer (Product ID 220109), DNA Ligase (Product ID 220110), Adaptor Mix (Product

ID 220026), and SI-PCR Primer (Product ID 220111).

              27.      On information and belief, the “Chromium Single Cell 3’ Gel Bead Kit v2,

16 rxns” (Product ID 120235) comprises Single Cell 3’ Gel Beads (Product ID 220104).

              28.      On information and belief, the “Chromium Single Cell 3’ Library Kit”

(Product ID 120230) comprises RT Reagent Mix (Product ID 220071), RT Enzyme Mix

(Product ID 220070), RNase Inhibitor (Product ID 220065), Additive A (Product ID 220074),

RT Primer (Product ID 310354), Buffer for Sample Clean Up (Product ID 220020), cDNA

Primer Mix 1 (Product ID 220066), cDNA Additive 1 (Product ID 220067), Amplification

Master Mix (Product ID 220073), End Repair and A-tailing Buffer (Product ID 220046), End

Repair and A-tailing Enzyme (Product ID 220047), Ligation Buffer (Product ID 220048), DNA

Ligase (Product ID 220049), R1 Adaptor Mix (Product ID 220064), and SI-PCR Primer (Product

ID 220068), and Surrogate Fluid (Product ID 220021).

              29.      On information and belief, the “Chromium Single Cell 3’ Gel Bead Kit”

(Product ID 120231) comprises Single Cell 3’ Gel Bead Strip (Product ID 220063).




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              30.      On information and belief, the “Chromium Single Cell 3’ Library & Gel

Bead Kit v2, 4 rxns” (Product ID 120267) comprises the “Chromium™ Single Cell 3’ Library

Kit v2, 4 rxns” (Product ID 120264) and the “Chromium Single Cell 3’ Gel Bead Kit v2, 4 rxns”

(Product ID 120265).

              31.      On information and belief, the “Chromium™ Single Cell 3’ Library Kit

v2, 4 rxns” (Product ID 120264) comprises RT Reagent Mix (Product ID 220089), RT Enzyme

Mix (Product ID 220127), Additive A (Product ID 220074), RT Primer (Product ID 310354),

Buffer Sample Clean Up 1 (Product ID 220020), Amplification Master Mix 1 (Product ID

220129), cDNA Primer Mix 1 (Product ID 220106), cDNA Additive 1 (Product ID 220067),

Fragmentation Enzyme Blend (Product ID 220130), Fragmentation Buffer (Product ID 220108),

Ligation Buffer (Product ID 220109), DNA Ligase (Product ID 220131), Adaptor Mix (Product

ID 220026), and SI-PCR Primer (Product ID 220111).

              32.      On information and belief, the “Chromium Single Cell 3’ Gel Bead Kit v2,

4 rxns” (Product ID 120265) comprises Single Cell 3’ Gel Beads (Product ID 220104).

              33.      On information and belief, additional reagents sold by Defendant for the

Single Cell 3’ Workflow Gene Expression v2 include, the “Chromium Single Cell A Chip Kit,

48 rxns” (Product ID 120236), the “Chromium Single Cell A Chip Kit, 16 rxns” (Product ID

1000009), the “Chromium Multiplex Kit, 96 rxns” (Product ID 120262), the “Chromium Single

Cell 3’ Chip Kit” (Product ID 120232).

              34.      On information and belief, the “Chromium Single Cell A Chip Kit, 48

rxns” (Product ID 120236) comprises Single Cell A Chip (Product ID 230027), Gaskets (Product

ID 370017), Partitioning Oil (Product ID 220088), and Recovery Agent (Product ID 220016).




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              35.    On information and belief, the “Chromium Single Cell A Chip Kit, 16

rxns” (Product ID 1000009) comprises Single Cell A Chip (Product ID 2000019), Gaskets

(Product ID 3000072), Partitioning Oil (Product ID 220088), and Recovery Agent (Product ID

220016).

              36.    On information and belief, the “Chromium Multiplex Kit, 96 rxns”

(Product ID 120262) comprises the Chromium™ i7 Sample Index Plate (Product ID 220103).

              37.    On information and belief, the “Chromium Single Cell 3’ Chip Kit”

(Product ID 120232) comprises Single Cell 3’ Chips (Product ID 230008), Gaskets (Product ID

370017), Partitioning Oil (Product ID 220017), and Recovery Agent (Product ID 220016).

              38.    On information and belief, parts and training kits sold by Defendant for

the Single Cell 3’ Workflow Gene Expression v2 include the “Chromium Training Chip Kit”

(Product ID 120244), and the “Chromium Training Reagents and Gel Bead Kit” (Product ID

120238).

              39.    On information and belief, instruments sold by Defendant for the Single

Cell 3’ Workflow Gene Expression v2 include the “Chromium Controller & Accessory Kit” with

12- or 24-month warranty (Product ID 120223 or 120246) and the “Chromium Single Cell

Controller & Accessory Kit” with 12 or 24 month warranty (Product ID 120263 or 120212).

              40.    On information and belief, the “Chromium Controller Accessory Kit”

(Product ID 110204) comprises Power Cord (Product ID 34000X), 10x™ Vortex Adapter

(Product ID 330002), 10x™ Chip Holder (Product ID 330019), 10x™ Vortex Clip (Product ID

230002), 10x™ Magnetic Separator (Product ID 230003), and Chromium Test Chip V1 (Product

ID 230024).




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                41.    As shown in Defendant’s own literature, Defendant itself markets and

sells various instruments, reagents, software, and parts and training kits as a single “solution” for

the Single Cell 3’ Workflow Gene Expression v3 product and describes that “solution” on its

website.5 The “Gene Expression v3” workflow is sold with or without “Feature Barcode

Selection.” The “Feature Barcode Selection” is sold as either “Cell Surface Protein,” “CRISPR

Screening,” or “Other.”6




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    https://www.10xgenomics.com/product-list/
    https://www.10xgenomics.com/product-list/ as of November 2018; see also Exhibit 32

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              42.    On information and belief, reagents sold by Defendant for the Single Cell

3’ Workflow Gene Expression v3 include the “Chromium Single Cell 3’ Feature Barcode

Library Kit 16 rxns” (Product ID 1000079), the “Chromium Single Cell 3’ Library & Gel Bead

Kit v3, 4 rxns” (Product ID 1000092), and the “Chromium Single Cell 3’ Library & Gel Bead

Kit v3, 16 rxns” (Product ID 1000075).

              43.    On information and belief, the “Chromium Single Cell 3’ Feature Barcode

Library Kit 16 rxns” (Product ID 1000079) comprises Feature cDNA Primers 1 (Product ID

2000096), Feature cDNA Primers 2 (Product ID 2000097), Feature SI Primers 1 (Product ID

2000098), Feature SI Primers 2 (Product ID 2000099), and Amp Mix 1 (Product ID 2000047).

              44.    On information and belief, the “Chromium Single Cell 3’ Library & Gel

Bead Kit v3, 4 rxns” (Product ID 1000092) comprises the “Chromium Single Cell 3’ GEM Kit

v3, 4 rxns” (Product ID 100094), the “Chromium Single Cell 3’ Library Kit v3, 4 rxns” (Product

ID 1000095), the “Chromium Single Cell 3’ Gel Bead Kit v3, 4 rxns” (Product ID 1000093), and

“Dynabeads MyOne SILANE” (Product ID 2000048).

              45.    On information and belief, the “Chromium Single Cell 3’ GEM Kit v3, 4

rxns” (Product ID 100094) comprises RT Reagent     (Product ID 2000086), RT Enzyme C

(Product ID 2000102), Template Switch Oligo (Product ID 3000228), Reducing Agent B

(2000087), Cleanup Buffer (Product ID 2000088), cDNA Primers (Product ID 2000089), and

Amp Mix (Product ID 2000103).

              46.    On information and belief, the “Chromium Single Cell 3’ Library Kit v3, 4

rxns” (Product ID 1000095) comprises Fragmentation Enzyme (Product ID 2000104),

Fragmentation Buffer (Product ID 2000091), Ligation Buffer (Product ID 2000092), DNA




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Ligase (Product ID 220131), Adaptor Oligos (Product ID 2000094), and SI Primer (Product ID

2000095).

              47.    On information and belief, the “Chromium Single Cell 3’ Gel Bead Kit v3,

4 rxns” (Product ID 1000093) comprises Single Cell 3’ v3 Gel Beads (Product ID 2000059).

              48.    On information and belief, the “Chromium Single Cell 3’ Library & Gel

Bead Kit v3, 16 rxns” (Product ID 1000075) comprises the “Chromium Single Cell 3’ GEM Kit

v3, 16 rxns” (Product ID 100077), the “Chromium Single Cell 3’ Library Kit v3, 16 rxns”

(Product ID 1000078), the “Chromium Single Cell 3’ Gel Bead Kit v3, 16 rxns” (Product ID

1000076), and “Dynabeads MyOne SILANE” (Product ID 2000048).

              49.    On information and belief, the “Chromium Single Cell 3’ GEM Kit v3, 16

rxns” (Product ID 100077) comprises RT Reagent     (Product ID 2000086), RT Enzyme C

(Product ID 2000085), Template Switch Oligo (Product ID 3000228), Reducing Agent B

(2000087), Cleanup Buffer (Product ID 2000088), cDNA Primers (Product ID 2000089), and

Amp Mix (Product ID 2000047).

              50.    On information and belief, the “Chromium Single Cell 3’ Library Kit v3,

16 rxns” (Product ID 1000078) comprises Fragmentation Enzyme (Product ID 2000090),

Fragmentation Buffer (Product ID 2000091), Ligation Buffer (Product ID 2000092), DNA

Ligase (Product ID 220110), Adaptor Oligos (Product ID 2000094), SI Primer (Product ID

2000095), and Amp Mix (Product ID 200047).

              51.    On information and belief, the “Chromium Single Cell 3’ Gel Bead Kit v3,

16 rxns” (Product ID 1000076) comprises Single Cell 3’ v3 Gel Beads (Product ID 2000059).

              52.    On information and belief, additional reagents sold by Defendant for the

Single Cell 3’ Workflow Gene Expression v3 include, the “Chromium Chip B Single Cell Kit 48




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rxns” (Product ID 1000073), the “Chromium Chip B Single Cell Kit 16 rxns” (Product ID

1000074), and the “Chromium i7 Multiplex Kit 96 rxns” (Product ID 120262).

              53.    On information and belief, the “Chromium Chip B Single Cell Kit 48

rxns” (Product ID 1000073) comprises Chromium Partitioning Oil (Product ID 220088),

Chromium Recovery Agent (Product ID 220016), Chip B Single Cell (Product ID 2000060), and

Gasket 6 pack (Product ID 370017).

              54.    On information and belief, the “Chromium Chip B Single Cell Kit 16

rxns” (Product ID 1000074) comprises Chromium Partitioning Oil (Product ID 220088),

Chromium Recovery Agent (Product ID 220016), Chip B Single Cell (Product ID 2000060), and

Gasket 2 pack (Product ID 370072).

              55.    On information and belief, the “Chromium Multiplex Kit, 96 rxns”

(Product ID 120262) comprises the Chromium™ i7 Sample Index Plate (Product ID 220103).

              56.    On information and belief, parts and training kits sold by Defendant for

the Single Cell 3’ Workflow Gene Expression v3 include the “Chromium Training Chip Kit”

(Product ID 120244), and the “Chromium Training Reagents and Gel Bead Kit” (Product ID

120238).

              57.    On information and belief, instruments sold by Defendant for the Single

Cell 3’ Workflow Gene Expression v3 include the “Chromium Controller & Accessory Kit” with

12- or 24-month warranty (Product ID 120223 or 120246) and the “Chromium Single Cell

Controller & Accessory Kit” with 12 or 24 month warranty (Product ID 120263 or 120212).

              58.    On information and belief, the “Chromium Controller Accessory Kit”

(Product ID 110204) comprises Power Cord (Product ID 34000X), 10x™ Vortex Adapter

(Product ID 330002), 10x™ Chip Holder (Product ID 330019), 10x™ Vortex Clip (Product ID




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230002), 10x™ Magnetic Separator (Product ID 230003), and Chromium Test Chip V1 (Product

ID 230024).

               59.     The term “Single Cell 3’ Workflow Accused Products” is used

hereinafter to refer to the foregoing instruments, reagents, software, and parts and training kits

sold or provided by Defendant for the Single Cell 3’ Workflow.

                 SINGLE CELL 5’ WORKFLOW ACCUSED PRODUCTS

               60.     On information and belief, Defendant’s Single Cell 5’ Workflow provides

an “approach to simultaneously examine the cellular context of the adaptive immune response

and the immune repertoires of hundreds to millions of T and B cells on a cell-by-cell basis” that

is used to “identify cell-type-specific immune repertoires on a cell-by-cell basis.”7

               61.     On information and belief, Defendant’s Single Cell 5’ Workflow is also

known as “Single Cell Immune Profiling,” and “Chromium Single Cell V(D)J.”

               62.     As shown in Defendant’s own literature, Defendant itself markets, and

sells various instruments, reagents, software, and parts and training kits as a single “solution”

and describes that “solution” in a single “Product Sheet.”8




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 https://www.10xgenomics.com/solutions/vdj/
 PS033_SingleCellImmune_FeatureBarcoding_Rev_A_digital.pdf;
20180601_PS017_ImmuneRepertoireProfiling_Rev_D_FINAL.pdf; see also Exhibit 32.

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              63.     On information and belief, Defendant’s Single Cell 5’ Workflow is sold as

“Chromium Single Cell Immune Profiling Solution,” with or without “Gene Expression” and

with or without “Feature Barcode Selection.” The “Feature Barcode Selection” is sold as either

“Cell Surface Protein,” “Antigen Specificity,” or “Other.” The “Chromium Single Cell Immune




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Profiling Solution” is also sold with the “Species” optionally designated as “Mouse” or

“Human.”9




                64.    On information and belief, reagents sold by Defendant for the Single Cell

5’ Workflow include the “Chromium Single Cell 5’ Library & Gel Bead Kit, 16 rxns” (Product

ID 1000006), the “Chromium Single Cell 5’ Library & Gel Bead Kit, 4 rxns” (Product ID

1000014).

                65.    On information and belief, the “Chromium Single Cell 5’ Library & Gel

Bead Kit, 16 rxns” (Product ID 1000006) comprises the “Chromium™ Single Cell 5’ Library

Kit, 16 rxns” (Product ID 1000002), the “Chromium™ Single Cell 5’ Gel Bead Kit, 16 rxns”

(Product ID 1000003), and Dynabeads MyOne SILANE (Product ID 2000048).

                66.    On information and belief, the “Chromium™ Single Cell 5’ Library Kit,

16 rxns” (Product ID 1000002) comprises RT Reagent Mix 1 (Product ID 220089), RT Enzyme

Mix B (Product ID 2000010), Additive A (Product ID 220074), Poly-dT RT Primer (Product ID

2000007), Buffer Sample Clean Up 1 (Product ID 220020), Amplification Master Mix (Product

ID 220125), cDNA Primer Mix (Product ID 220106), cDNA Additive (Product ID 220067) ,

Fragmentation Enzyme Blend (Product ID 220107), Fragmentation Buffer (Product ID 220108),




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    https://www.10xgenomics.com/product-list/ as of February 2019

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Ligation Buffer (Product ID 220109), DNA Ligase (Product ID 220110), Adaptor Mix (Product

ID 220026), and SI-PCR Primer (Product ID 220111).

              67.    On information and belief, the “Chromium™ Single Cell 5’ Gel Bead Kit,

16 rxns” (Product ID 1000003) comprises Single Cell 5’ Gel Beads (Product ID 220112).

              68.    On information and belief, the “Chromium Single Cell 5’ Library & Gel

Bead Kit, 4 rxns” (Product ID 1000014) comprises the Chromium™ Single Cell 5’ Library Kit,

4 rxns (Product ID 1000011), the Chromium™ Single Cell 5’ Gel Bead Kit, 4 rxns (Product ID

1000010), and Dynabeads MyOne SILANE (Product ID 2000048).

              69.    On information and belief, the “Chromium™ Single Cell 5’ Library Kit, 4

rxns” (Product ID 1000011) comprises RT Reagent Mix 1 (Product ID 220089), RT Enzyme

Mix B (Product ID 2000021), Additive A (Product ID 220074), Poly-dT RT Primer (Product ID

2000007), Buffer Sample Clean Up 1 (Product ID 220020), Amplification Master Mix (Product

ID 220125), cDNA Primer Mix (Product ID 220106), cDNA Additive (Product ID 220067) ,

Fragmentation Enzyme Blend (Product ID 220130), Fragmentation Buffer (Product ID 220108),

Ligation Buffer (Product ID 220109), DNA Ligase (Product ID 220131), Adaptor Mix (Product

ID 220026), and SI-PCR Primer (Product ID 220111).

              70.    On information and belief, the “Chromium™ Single Cell 5’ Gel Bead Kit,

4 rxns” (Product ID 1000010) comprises Single Cell 5’ Gel Beads (Product ID 220112).

              71.    On information and belief, additional reagents sold by Defendant for the

Single Cell 5’ Workflow include, the “Chromium Single Cell 3’/5’ Library Construction Kit, 16

rxns” (Product ID 1000020), the “Chromium Single Cell V(D)J Enrichment Kit, Human T Cell,

96 rxns” (Product ID 1000005), the “Chromium Single Cell V(D)J Enrichment Kit, Human B

Cell, 96 rxns” (Product ID 1000016), the “Chromium Single Cell A Chip Kit, 48 rxns” (Product




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ID 120236), the “Chromium Single Cell A Chip Kit, 16 rxns” (Product ID 1000009), the

“Chromium Multiplex Kit, 96 rxns” (Product ID 120262), the “Chromium i7 Multiplex Kit N,

Set A, 96 rxns” (Product ID 1000084), the “Chromium Single Cell V(D)J Enrichment Kit,

Mouse B Cell, 96 rxns” (Product ID 1000072), the “Chromium Single Cell V(D)J Enrichment

Kit, Mouse T Cell, 96 rxns” (Product ID 1000071), and the “Chromium Single Cell 5’ Feature

Barcode Library Kit, 16 rxns” (Product ID 1000080).

              72.    On information and belief, the “Chromium Single Cell 3’/5’ Library

Construction Kit, 16 rxns” (Product ID 1000020) comprises “cDNA Additive” (Product ID

220067), Fragmentation Enzyme Blend (Product ID 220107), “Fragmentation Buffer (Product

ID 220108), Ligation Buffer (Product ID 220109), DNA Ligase (Product ID 220110),

Amplification Master Mix (Product ID 220125), Adapter Mix (Product ID 220026), and SI-PCR

Primer (Product ID 220111).

              73.    On information and belief, the “Chromium Single Cell V(D)J Enrichment

Kit, Human T Cell, 96 rxns” (Product ID 1000005) comprises “Human T Cell Mix 1” (Product

ID 2000008), and “Human T Cell Mix 2” (Product ID 2000009).

              74.    On information and belief, the “Chromium Single Cell V(D)J Enrichment

Kit, Human B Cell, 96 rxns” (Product ID 1000016) comprises “Human B Cell Mix 1” (Product

ID 2000035), and “Human B Cell Mix 2” (Product ID 2000036).

              75.    On information and belief, the “Chromium Single Cell A Chip Kit, 48

rxns” (Product ID 120236) comprises Single Cell A Chip (Product ID 230027), Gaskets (Product

ID 370017), Partitioning Oil (Product ID 220088), and Recovery Agent (Product ID 220016).

              76.    On information and belief, the “Chromium Single Cell A Chip Kit, 16

rxns” (Product ID 1000009) comprises Single Cell A Chip (Product ID 2000019), Gaskets




                                             21
(Product ID 3000072), Partitioning Oil (Product ID 220088), and Recovery Agent (Product ID

220016).

               77.   On information and belief, the “Chromium Multiplex Kit, 96 rxns”

(Product ID 120262) comprises the Chromium™ i7 Sample Index Plate (Product ID 220103).

               78.   On information and belief, the “Chromium i7 Multiplex Kit N, Set A, 96

rxns” (Product ID 1000084) comprises the Chromium i7 Sample Index Plate N, Set A (Product

ID 3000262).

               79.   On information and belief, the “Chromium Single Cell V(D)J Enrichment

Kit, Mouse B Cell, 96 rxns” (Product ID 1000072) comprises “Mouse B Cell Mix 1” (Product ID

2000080), and “Mouse B Cell Mix 2” (Product ID 2000081).

               80.   On information and belief, the “Chromium Single Cell V(D)J Enrichment

Kit, Mouse T Cell, 96 rxns” (Product ID 1000071) comprises “Mouse T Cell Mix 1” (Product ID

2000075), and “Mouse T Cell Mix 2” (Product ID 2000079).

               81.   On information and belief, the “Chromium Single Cell 5’ Feature Barcode

Library Kit, 16 rxns” (Product ID 1000080) comprises SC5’ Feature cDNA Primers (Product ID

2000119), Amplification Master Mix (Product ID 22015), and SI Primer (Product ID 2000095).

               82.   On information and belief, parts and training kits sold by Defendant for

the Single Cell 5’ Workflow include the “Chromium Training Chip Kit” (Product ID 120244),

and the Chromium Training Reagents and Gel Bead Kit” (Product ID 120238).

               83.   On information and belief, instruments sold by Defendant for the Single

Cell 5’ Workflow include the “Chromium Controller & Accessory Kit” with 12- or 24-month

warranty (Product ID 120223 or 120246) and the “Chromium Single Cell Controller &

Accessory Kit” with 12 or 24 month warranty (Product ID 120263 or 120212).




                                              22
                 84.     On information and belief, the “Chromium Controller Accessory Kit”

(Product ID 110204) comprises Power Cord (Product ID 34000X), 10x™ Vortex Adapter

(Product ID 330002), 10x™ Chip Holder (Product ID 330019), 10x™ Vortex Clip (Product ID

230002), 10x™ Magnetic Separator (Product ID 230003), and Chromium Test Chip V1 (Product

ID 230024).

                 85.     On information and belief, Defendant also make available software for use

in connection with the Single Cell 3’ Workflow and Single Cell 5’ Workflow including “Cell

Ranger,” “Loupe Cell Browser,” and “Loupe V(D)J Browser.”

                 86.     The term “Single Cell 5’ Workflow Accused Products” is used

hereinafter to refer to the foregoing instruments, reagents, software, and parts and training kits

sold or provided by Defendant for the Single Cell 5’ Workflow.

                                  SPATIAL TRANSCRIPTOMICS

                 87.     Defendant’s Spatial Transcriptomics Workflow “generates spatially

barcoded ready-to-load sequencing libraries from fresh frozen tissue sections.”10

                 88.     As shown on Defendant’s website, Defendant itself markets and sells “ST

Tissue Optimization Slide” and “ST Library Preparation Slide.”11




10
11
     Library Preparation Manual, Version 180611
     https://spatialtranscriptomics.com/products/ as of February 2019; see also Exhibit 32

                                                 23
              89.    On information and belief, Defendant also makes available software for

use in connection with the Spatial Transcriptomics Workflow.




                                             24
               90.     The term “Spatial Transcriptomics Accused Products” is used hereinafter

to refer to the foregoing reagents, software, and parts sold or provided by Defendant for the

Spatial Transcriptomics Workflow.

               91.     The term “Representative Accused Products” or “Accused Products” is

used herein to refer to “Single Cell 3’ Workflow Accused Products,” “Single Cell 5’ Workflow

Accused Products,” and “Spatial Transcriptomics Accused Products.” 10X has infringed and

continues to infringe directly and/or indirectly, literally or under the doctrine of equivalents, the

Asserted Patents by making, using (including during research and development activities and

product testing), offering for sale, selling and/or importing at least the Accused Products, or

inducing or contributing to such acts.

                                      COUNT 1
                          (INFRINGEMENT OF THE ’358 PATENT)

               92.     Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

               93.     U.S. Patent No. 8,835,358 (the “’358 patent”), entitled “Digital Counting

of Individual Molecules by Stochastic Attachment of Diverse Labels,” was duly and legally

issued on September 16, 2014 to inventors Stephen P. A. Fodor and Glenn K. Fu. A true and

accurate copy of the ’358 patent is attached as Exhibit 1.

               94.     Skilled artisans would understand that, prior to the inventions of the ’358

patent, numerous problems existed in the prior art relating to quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample. Analytical methods for measuring the abundance of

different molecules in a sample (e.g., nucleic acids) existed, but were generally comparative

techniques and were limited by signal to noise issues. Prior art techniques offered limited utility

in cases where samples comprised a large number of different molecules or where the number of



                                                  25
molecules of interest was low in comparison to the number of background molecules. See, e.g.,

’358 patent at 2:49-53, 2:64-66; 3:7-16; 3:21-25. Other drawbacks and limitations in prior art

methods included, for example:

          A requirement for one-to-one correspondence between probe sequences and
           oligonucleotide tag sequences in techniques where oligonucleotide tags are
           hybridized to their complements;

          A requirement for customizing dilutions for each type of molecule in digital methods,
           which generally limited the practice to analysis of a small number of different
           molecules and required physical separation of molecules;

          An inability to ensure that all sequences are captured in microarray and sequencing
           based technologies;

          A limited ability to correlate intensity of hybridization signal (or signal intensity) to
           the concentration of target molecules in hybridization-based methods;

          Variability relating to probe hybridization differences and cross-reactivity;

          Limitations on the ability to stochastically attach labels to known targets, in a known
           location, in the context of sequencing and amplification-based methodologies; and

          Dynamic range limitations in array-based methods.

See, e.g., id. at 1:64-2:5; 2:35-3:12; 3:21-25; 13:18-22; 17:56-65; 20:42-45; 20:63-21:3; 21:14-

18; 21:66-22:3; 22:27-40; 30:46-56; 31:15-33.

               95.     Skilled artisans would understand that the inventions as recited in the

common specifications of the Fodor patents are generally directed to quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules.

See, e.g., ’358 patent at 3:29-63 (“High-sensitivity single molecule digital counting by the

stochastic labeling of a collection of identical molecules is disclosed. Each copy of a molecule

randomly chooses from a non-depleting reservoir of diverse labels. . . . The labeled fragments for



                                                 26
a target molecule of choice are detected with high specificity using a microarray readout system,

and with DNA sequencing. The results are consistent with a stochastic process, and yield highly

precise relative and absolute counting statistics of selected molecules within a vast background

of other molecules. . . . The attachment of the label confers a separate, determinable identity to

each occurrence of targets that may otherwise be indistinguishable.”). The claimed inventions of

the ’358 patent are directed in general to methods for attaching diverse nucleic acid label tags to

nucleic acid molecules in a sample, optionally including amplifying the newly-generated, distinct

labeled nucleic acid molecules, and detecting or counting at least a portion of those nucleic acid

molecules and attached diverse nucleic acid label tags. In certain aspects of the invention, the

attaching can comprise reverse transcription. More specifically, skilled artisans would

understand that the asserted independent claims of the ’358 patent are directed to specific

implementations of the inventions of the Fodor patents, reciting “combining a mixture

comprising at least two distinct target nucleic acid molecules with a pool of nucleic acid label-

tags, wherein the pool of nucleic acid label-tags comprises a plurality of nucleic acid label-tags

with different sequences,” “attaching at least two nucleic acid label-tags from the pool of nucleic

acid label-tags to the at least two distinct target nucleic acid molecules to obtain at least two

label-tag-target nucleic acid molecules,” “amplifying at least a portion of the label-tag-target

nucleic acid molecules,” and “detecting an amplified product” (’358 patent, cl. 6) and “attaching

by a species-independent manner to each occurrence of the first target molecule a label from a

set of diverse labels . . . , thereby generating for each occurrence of the first target molecule, a

new molecule that comprises a copy of the first target molecule and a label, wherein more than

90% of the new molecules have a label that is different from the labels on the other new

molecules,” “detecting each new molecule by detecting each label present on the new molecule,”




                                                  27
and “counting a number of new molecules” (’358 patent, cl. 1). They would further understand

that asserted dependent claims are directed to further specific implementations of the methods

recited in the independent claims, including “wherein the attaching is stochastic” (’358 patent,

cls. 7, 16).

               96.     Skilled artisans would further understand that (1) quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

is not an abstract idea but rather a concrete and tangible method for manipulating molecules and

generating new molecules that provide an improved method of quantitation; (2) the specific

implementations of the inventions of the Fodor patents recited in the claims of the ’358 patent

are not directed to an abstract idea, nor are the claims directed merely to labeling different

molecules or objects with different labels or all implementations thereof; (3) labeling nucleic

acids with different labels is not an abstract idea; (4) the claims do not describe concepts long-

practiced in society but rather claim novel and innovative methods used for quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

that improved upon prior art methods; and (5) the claims do not merely limit an abstract idea to a

specific technological environment, e.g., DNA and nucleic acids.

               97.     Skilled artisans would further understand that the inventions claimed in

the ’358 patent provide numerous improvements and benefits over prior art methods. In addition




                                                 28
to addressing the aforementioned drawbacks and limitations of the prior art, the inventions of the

’358 patent also:

          Confer a separate, determinable identity to occurrences of targets that may otherwise
           be indistinguishable as a result of the diverse labels or label-tags in the newly-
           generated molecule;

          Allow simultaneous quantitation of multiple target sequences;

          Take quantitative measurements of copies of identical target molecules in a solution
           by transformation of the information into a digital process for detecting the presence
           of different or diverse labels or label-tags that are attached to the identical target
           molecules in a manner that is extremely sensitive and can be multiplexed to high
           levels;

          Allow newly-generated molecules comprising targets and diverse labels or label-tags
           to be amplified freely without impacting quantitation of the targets; and

          Convert an analog readout of hybridization signal intensities on arrays into a
           measurable process that can be scored digitally on the arrays by leveraging the
           diverse label-tags found in each newly-generated molecule, providing a clear cost-
           advantage over existing techniques.

See, e.g., ’358 patent at 3:29-31; 3:41-54; 3:60-63; 3:67-4:4; 13:18-22; 19:38-41; 20:63-21:3;

21:6-9; 21:14-18; 21:22-29; 21:66-22:3; 23:32-35; 29:53-54; 30:35-38; 31:4-14. Skilled artisans

would understand that these benefits inure from the claimed inventions and inventive concepts

(alone or in combination with the other limitations), including the diverse labels or label-tags

being attached to target molecules to generate new molecules comprising targets and diverse

labels or label-tags, including through stochastic attachment of diverse labels and/or by

multiplexing to allow simultaneous quantitation of multiple molecules, the amplification of those

newly-generated molecules, and the other limitations (alone or in combination) of the

independent and dependent claims, including as described above and below.

               98.     Skilled artisans would further understand that quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of


                                                 29
diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

was not well-understood, routine, or conventional at the time of the invention. They would

further understand that the steps recited in the claims of the ’358 patent, either alone or in

combination and including those recited above and below, were not well-understood, routine, or

conventional at the time of the inventions and are integral to addressing the problems in the prior

art remedied by the improved functionality of the claimed inventions and inventive concepts.

They would further understand that the specific structures and manipulations recited in the

claims of the ’358 patent, including distinct target nucleic acid molecules, nucleic acid label-tags

with different sequences, label-tag-target nucleic acid molecules generated from attaching

nucleic acid labels tags with different sequences to target nucleic acid molecules, target

molecules, diverse labels, and new molecules generated by attaching diverse labels or label-tags

to target molecules, including wherein more than 90% of the new molecules have a label that is

different from the labels on the other new molecules, including through stochastic attachment of

diverse labels, species-independent attachment, and/or by multiplexing to allow simultaneous

quantitation of multiple molecules, are essential to addressing the problems remedied by the

improved functionality of the claimed inventions. See also supra ¶ 97.

                99.    They would further understand that the additional limitations (alone or in

combination) of at least dependent claims 2-5, 7-11, 16, 18-24, 26-27, 29-30, 32-37, 42-50, 53-

54, 56-61, 66-70, 72-75, 77-83, 88-91, and 94-95 are not directed to an abstract idea and recite

inventive concepts for additional reasons, including that the claims recite additional structure; are

not routine, conventional, or well-known; improve upon prior art methods by providing

increased functionality; and do not risk preemption as a result of the additional limitations in

those claims.




                                                 30
               100.    They would further understand that claim 6 of the ’358 patent is not

substantially similar to nor linked to any abstract idea, much less the same abstract idea as all

claims of the ’358 patent, including because the other claims of the ’358 patent recite additional,

tangible structures and manipulations, provide further improvements and innovations, address

additional technological problems, add one or more inventive concepts, and involve different

facts relating to issues of preemption and patentability that are not reflected in claim 6 of the

’358 patent. See also supra at ¶¶ 97-99.

               101.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’358 patent, including at least claim 6 of the ’358 patent,

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               102.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 6 of the ’358 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’358 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               103.    In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products, “combining a mixture comprising at least two distinct target nucleic acid molecules

with a pool of nucleic acid label-tags” as recited in step (a) of claim 6 of the ’358 patent occurs




                                                 31
because “[t]he 10x™ GemCode™ Technology… partition[s] thousands of cells into nanoliter-

scale Gel Bead-In-EMulsions (GEMs),”12 and “[o]nce partitioned, the Gel Bead dissolves and its

oligo primers are released into the aqueous environment of the GEM.”13 The “combining”

recited in step (a) of claim 6 of the ’358 patent occurs when “the cell captured in the GEM is […]

lysed” (thereby releasing the “at least two distinct target nucleic acid molecules” in the cell) and

“[t]he contents of the GEM (oligos, lysed cell components and Master Mix) are incubated in an

RT reaction”14 which is “a mixture comprising at least two distinct target nucleic acid molecules

with a pool of nucleic acid label-tags.”

               104.    The oligos of the Gel Beads for the Single Cell 3’ Workflow and Single

Cell 5’ Workflow Accused Products are shown below15:




12
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
13
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
14
15
   Id.
   Id.

                                                 32
               105.    In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products “wherein the pool of nucleic acid label-tags comprises a plurality of nucleic acid label-

tags with different sequences” as recited in step (a) of claim 6 exists because each of the GEMs

“contain millions of oligo primers that comprise different Unique Molecular Identifiers”16 that

make up “a pool of ~ 750000 barcodes to separately index each cell’s transcriptome.”17

               106.    In the Single Cell 3’ Workflow Accused Products, the “attaching at least

two nucleic acid label-tags from the pool of nucleic acid label-tags to the at least two distinct

target nucleic acid molecules to obtain at least two label-tag-target nucleic acid molecules,

wherein the distinct target nucleic acid molecules have different sequences from one another”

recited in step (b) of the ’358 patent occurs when “[t]he contents of the GEM (oligos, lysed cell

components and Master Mix) are incubated in an RT reaction to generate full-length, barcoded

cDNA from the poly A-tailed mRNA transcripts” and a “reverse transcription reaction is primed

by the barcoded Gel Bead oligo and the reverse transcriptase incorporates the template switch

oligo via a template switching reaction at the 5’ end of the transcript.”18 As illustrated below19,

this reverse transcription reaction is primed by a poly(dT) sequence on the oligo, thus yielding

16
17
   Id.
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf; “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
18
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
19
            (CG000108_AssayConfiguration_SC3v2.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                 33
“at least two label-tag-target nucleic acid molecules, wherein the distinct target nucleic acid

molecules have different sequences from one another.”




               107.    In the Single Cell 5’ Workflow Accused Products, the “attaching at least

two nucleic acid label-tags from the pool of nucleic acid label-tags to the at least two distinct

target nucleic acid molecules to obtain at least two label-tag-target nucleic acid molecules,

wherein the distinct target nucleic acid molecules have different sequences from one another”

recited in step (b) of the ’358 patent occurs when “[t]he contents of the GEM (oligos, lysed cell

components and Master Mix that contains the Poly-dT RT primer) are incubated in a reverse



                                                 34
transcription (RT) reaction to generate full-length, barcoded cDNA from the poly-adenylated

mRNA” and “[t]he reverse transcriptase incorporates the Gel Bead oligo via a template

switching reaction at the 5’ end of the transcript.”20 Here, as shown below,21 the reverse

transcription product comprises a polyC tail which is hybridized to the barcoded Gel Bead oligo

to thereby result in attachment to “distinct target nucleic acid molecules have different sequences

from one another.”




20
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
21
            (CG000109_AssayConfiguration_VDJ_RevD.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                35
               108.    In the Single Cell 3’ Workflow Accused Products, the “amplifying at

least a portion of the label-tag-target nucleic acid molecules wherein an amplified portion of the

label-tag-target nucleic acid molecules comprises at least a portion of said target nucleic acid

molecule” as recited in step (c) of claim 6 of the ’358 patent occurs because “[t]he GEMs are

then ‘broken’, pooling single-stranded, barcoded cDNA molecules from every cell” and “[a] bulk

PCR-amplification and Enzymatic Fragmentation” follows.22 As illustrated below23, this



22
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
23
            (CG000108_AssayConfiguration_SC3v2.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                 36
amplification step results in products wherein “an amplified portion of the label-tag-target

nucleic acid molecules comprises at least a portion of said target nucleic acid molecule.”




               109.    In the Single Cell 5’ Workflow Accused Products, the “amplifying at

least a portion of the label-tag-target nucleic acid molecules wherein an amplified portion of the

label-tag-target nucleic acid molecules comprises at least a portion of said target nucleic acid

molecule” as recited in step (c) of claim 6 of the ’358 patent occurs because “[t]he Single Cell

V(D)J Solution offers the option to generate” by PCR amplification, “Direct Target Enrichment”

or “cDNA Amplification followed by Target Enrichment.”24 As illustrated below25, the Direct

Target Enrichment option results in products wherein “an amplified portion of the label-tag-

target nucleic acid molecules comprises at least a portion of said target nucleic acid molecule.”




24
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
25
            (CG000109_AssayConfiguration_VDJ_RevD.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                 37
               110.    As illustrated below26, the cDNA Amplification followed by Target

Enrichment option in the Single Cell 5’ Workflow Accused Products also results in products

wherein “an amplified portion of the label-tag-target nucleic acid molecules comprises at least a

portion of said target nucleic acid molecule.”




               111.    In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products, the “detecting an amplified product of step (c)” as recited in step (d) occurs because

“[t]he Single Cell 3’ Protocol produces Illumina-ready sequencing libraries” 27 and “[t]he Single

Cell V(D)J Solutions produce V(D)J enriched and 5’ gene expression Illumina-ready sequencing

libraries.”28 Once these libraries are “generated and sequenced,” “the 10x Barcodes are used to

associate individual reads back to the individual partitions.”29

               112.    As demonstrated in Exhibit 12, the Single Cell 3’ Workflow Accused

Products satisfy the claim limitations of at least claims 6-11, 58-59, 66-70, 75, 77-83, 88-91, and

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27
   Id. at Figure 4 (cropped, markings added)
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
28
   “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
29
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 38
94-95 of the ’358 patent. As demonstrated in Exhibit 13, the Single Cell 5’ Workflow Accused

Products satisfy the claim limitations of at least claims 6-11, 58-59, 66-68, 75, 77-83, 88-91, and

94-95 of the ’358 patent. As demonstrated in Exhibit 14, the Spatial Transcriptomics Accused

Products satisfy the claim limitations of at least claims 1-11, 16, 18-24, 26-27, 29-30, 32-37, 42-

50, 53-54, 56-61, 66-70, 72-75, 77-82, 88-91, and 94 of the ’358 patent. The demonstration of

infringement illustrated in Exhibits 12, 13, and 14 is offered by way of example only and

without limitation to BD’s ability to demonstrate Defendant’s direct, indirect, literal, or

equivalent infringement of additional ’358 patent claims, including by making, using, selling,

offering for sale, or importing additional products or inducing or contributing to such acts.

               113.    10X has also induced and currently induces infringement of at least claim

6 of the ‘358 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 6 of the ‘358 patent.30 10X has known of the ’358

patent and of its infringement of that patent since at least May 2017. By providing its customers

with the Accused Products and those directions for use, 10X specifically intends that its

customers infringe the ’358 patent.

               114.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 6 of the ‘358 patent. 10X has designed the Accused

Products specifically to be used in a manner as claimed at least claim 6 of the ‘358 patent.31 As

such, the Accused Products are a material component of the patented combination, specifically

designed to be used according to at least claim 6 of the ‘358 patent, and especially made and

30
   See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent
31
          Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
   See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 39
adapted for use in a manner that infringes at least claim 6 of the ‘358 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 6 of the ‘358 patent. 10X has knowledge of the '358 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the '358

patent.

               115.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ‘358 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ‘358 patent.

               116.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages, injunctive relief.

Plaintiffs’ business operates in a competitive market and will continue suffering irreparable harm

absent injunctive relief.

                                        COUNT 2
                            (INFRINGEMENT OF THE ’857 PATENT)

               117.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

               118.    U.S. Patent No. 9,315,857 (the “’857 patent”), entitled “Digital Counting

of Individual Molecules by Stochastic Attachment of Diverse Labels,” was duly and legally

issued on April 19, 2016 to inventors Stephen P. A. Fodor and Glenn K. Fu. A true and accurate

copy of the ’857 patent is attached as Exhibit 2.




                                                 40
               119.    Skilled artisans would understand that, prior to the inventions of the ’857

patent, numerous problems existed in the prior art relating to quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample. Analytical methods for measuring the abundance of

different molecules in a sample (e.g., nucleic acids) existed, but were generally comparative

techniques and were limited by signal to noise issues. Prior art techniques offered limited utility

in cases where samples comprised a large number of different molecules or where the number of

molecules of interest was low in comparison to the number of background molecules. See, e.g.,

’857 patent at 3:13-17; 3:28-30; 3:38-47; 3:53-57. Other drawbacks and limitations in prior art

methods included, for example:

          A requirement for one-to-one correspondence between probe sequences and
           oligonucleotide tag sequences in techniques where oligonucleotide tags are
           hybridized to their complements;

          A requirement for customizing dilutions for each type of molecule in digital methods,
           which generally limited the practice to analysis of a small number of different
           molecules and required physical separation of molecules;

          An inability to ensure that all sequences are captured in microarray and sequencing
           based technologies;

          A limited ability to correlate intensity of hybridization signal (or signal intensity) to
           the concentration of target molecules in hybridization-based methods;

          Variability relating to probe hybridization differences and cross-reactivity;

          Limitations on the ability to stochastically attach labels to known targets, in a known
           location, in the context of sequencing and amplification-based methodologies; and

          Dynamic range limitations in array-based methods.

See, e.g., id. at 2:14-22; 2:32-44; 2:66-3:44; 3:53-57; 14:53-57; 19:9-18; 27:21-24; 27:44-52;

27:63-67; 28:47-60; 29:19-24; 38:43-53.

               120.    Skilled artisans would understand that the inventions as recited in the

common specifications of the Fodor patents are generally directed to quantitation of the



                                                 41
abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules.

See, e.g., ’857 patent at 3:61-4:30 (“High-sensitivity single molecule digital counting by the

stochastic labeling of a collection of identical molecules is disclosed. Each copy of a molecule

randomly chooses from a non-depleting reservoir of diverse labels. . . . The labeled fragments for

a target molecule of choice are detected with high specificity using a microarray readout system,

and with DNA sequencing. The results are consistent with a stochastic process, and yield highly

precise relative and absolute counting statistics of selected molecules within a vast background

of other molecules. . . . The attachment of the label confers a separate, determinable identity to

each occurrence of targets that may otherwise be indistinguishable.”). The claimed inventions of

the ’857 patent are directed in general to methods for determining the number of copies of a

nucleic acid target by attaching a plurality of diverse label-tags, comprising nucleotides, to a

nucleic acid target from a sample, amplifying the plurality of labeled-targets, and detecting by

sequencing the plurality of amplified labeled-targets. More specifically, skilled artisans would

understand that the asserted independent claim of the ’857 patent is directed to a specific

implementation of the inventions of the Fodor patents, reciting “attaching a plurality of diverse

label-tags to a nucleic acid target from a sample that contains multiple copies of the nucleic acid

target, thereby producing a plurality of labeled targets,” wherein “a label-tag of the plurality of

diverse label-tags comprises nucleotides” and “a labeled target of the plurality of labeled targets

comprises a distinct label-tag and at least a portion of a nucleic acid target, or its complementary

sequence,” “amplifying the plurality of labeled-targets to produce a plurality of amplified

labeled-targets, wherein an amplified labeled-target of the plurality of amplified labeled-targets




                                                 42
comprises a copy of at least a portion of the nucleic acid target, or its complementary sequence,

and a copy of the label-tag,” “detecting the plurality of amplified labeled-targets by sequencing

at least a portion of the target and the label-tag,” and “determining the number of copies of the

nucleic acid target” (’857 patent, cl. 1). They would further understand that asserted dependent

claims are directed to further specific implementations of the methods recited in the independent

claims, including “wherein the attaching step occurs in a stochastic manner” (’857 patent, cl. 17).

               121.    Skilled artisans would further understand that (1) quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

is not an abstract idea but rather a concrete and tangible method for manipulating molecules and

generating new molecules that provide an improved method of quantitation; (2) the specific

implementations of the inventions of the Fodor patents recited in the claims of the ’857 patent

are not directed to an abstract idea, nor are the claims directed merely to labeling different

molecules or objects with different labels or all implementations thereof; (3) labeling nucleic

acids with different labels is not an abstract idea; (4) the claims do not describe concepts long-

practiced in society but rather claim novel and innovative methods used for quantitation of the

abundance of genetic material in a sample through the generation of new molecules by attaching

diverse labels to target molecules, including through stochastic attachment of diverse labels

and/or by multiplexing to allow simultaneous quantitation of multiple molecules, that improved

upon prior art methods; and (5) the claims do not merely limit an abstract idea to a specific

technological environment, e.g., DNA and nucleic acids.




                                                 43
               122.    Skilled artisans would further understand that the inventions claimed in

the ’857 patent provide numerous improvements and benefits over prior art methods. In addition

to addressing the aforementioned drawbacks and limitations of the prior art, the inventions of the

’857 patent also:

          Confer a separate, determinable identity to occurrences of targets that may otherwise
           be indistinguishable as a result of the diverse labels or label-tags in the newly-
           generated molecule;

          Allow simultaneous quantitation of multiple target sequences;

          Take quantitative measurements of copies of identical target molecules in a solution
           by transformation of the information into a digital process for detecting the presence
           of different or diverse labels or label-tags that are attached to the identical target
           molecules in a manner that is extremely sensitive and can be multiplexed to high
           levels;

          Allow newly-generated molecules comprising targets and diverse labels or label-tags
           to be amplified freely without impacting quantitation of the targets; and

          Convert an analog readout of hybridization signal intensities on arrays into a
           measurable process that can be scored digitally on the arrays by leveraging the
           diverse label-tags found in each newly-generated molecule, providing a clear cost-
           advantage over existing techniques.

See, e.g., ’857 patent at 3:61-63; 4:6-20; 4:28-30; 4:35-38; 14:53-57; 19:46-47; 27:44-52; 27:53-

57; 27:63-67; 28:3-10; 29:19-24; 29:42-48; 37:33-34; 38:23-26; 39:1-11. Skilled artisans would

understand that these benefits inure from the claimed inventions and inventive concepts (alone or

in combination with the other limitations), including the diverse label-tags being attached to

nucleic acid targets from a sample that contains multiple copies of the nucleic acid target to

generate a plurality of new labeled targets comprising distinct label-tags and at least a portion of

a nucleic acid targets, including through stochastic attachment of diverse label-tags and/or by

multiplexing to allow simultaneous quantitation of multiple nucleic acid targets, the

amplification of those newly-generated molecules, and the other limitations (alone or in

combination) of the independent and dependent claims, including as described above and below.


                                                 44
               123.    Skilled artisans would further understand that quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

was not well-understood, routine, or conventional at the time of the invention. They would

further understand that the steps recited in the claims of the ’857 patent, either alone or in

combination and including those recited above and below, were not well-understood, routine, or

conventional at the time of the inventions and are integral to addressing the problems in the prior

art remedied by the improved functionality of the claimed inventions and inventive concepts.

They would further understand that the specific structures and manipulations recited in the

claims of the ’857 patent, including a plurality of diverse label-tags, wherein the label-tags

comprise nucleotides, a nucleic acid target from a sample that contains multiple copies of the

nucleic acid target, a newly-generated labeled target that comprises a distinct label-tag and at

least a portion of a nucleic acid target or its complementary sequence, generated by attaching a

diverse label to a target molecule, including through stochastic attachment of distinct label-tags

and/or by multiplexing to allow simultaneous quantitation of multiple nucleic acid targets,

amplified labeled-targets comprising a copy of at least a portion of the nucleic acid target, or its

complementary sequence, and a copy of the label-tag, are essential to addressing the problems

remedied by the improved functionality of the claimed inventions. See also supra ¶ 122.

               124.    They would further understand that the additional limitations (alone or in

combination) of at least dependent claims 2-6, 10, 12, 15, and 17-21 are not directed to an

abstract idea and recite inventive concepts for additional reasons, including that they recite

additional structure; are not routine, conventional, or well-known; improve upon prior art




                                                 45
methods by providing increased functionality; and do not risk preemption as a result of the

additional limitations in those claims.

               125.    They would further understand that claim 6 of the ’358 patent is not

substantially similar to nor linked to any abstract idea, much less the same abstract idea as all

claims of the ’857 patent, including because the claims of the ’857 patent recite additional,

tangible structures and manipulations, provide further improvements and innovations, address

additional technological problems, add one or more inventive concepts, and involve different

facts relating to issues of preemption and patentability that are not reflected in claim 6 of the

’358 patent. See also supra at ¶¶ 122-124.

               126.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’857 patent, including at least claim 1 of the ’857 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               127.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ’857 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’857 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.




                                                 46
               128.    In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products, the “attaching a plurality of diverse label-tags to a nucleic acid target from a sample

that contains multiple copies of the nucleic acid target” as recited in step (a) of claim 1 occurs

because the label tags employed in the attaching step are from GEMs that “contain millions of

oligo primers” 32 that comprise different “Unique Molecular Identifiers” that make up “a pool of

~ 750000 barcodes to separately index each cell’s transcriptome”33 and because “[t]he cell

captured in the GEM is also lysed.”34 The poly A-tailed mRNA transcripts35 of a cell are the

“multiple copies of the nucleic acid target.” The oligos of the Gel Beads for the Single Cell 3’

Workflow and Single Cell 5’ Workflow Accused Products are shown below36:




32
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
33
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
34
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
35
36
   Id,
   Id.

                                                 47
               129.    In the Single Cell 3’ Workflow Accused Products, the “thereby producing

a plurality of labeled targets” recited in step (a) occurs when a “[t]he contents of the GEM

(oligos, lysed cell components and Master Mix) are incubated in an RT reaction to generate full-

length, barcoded cDNA from the poly A-tailed mRNA transcripts.”37 As illustrated below38, this

step produces “a plurality of labelled targets.”




37
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
38
            (CG000108_AssayConfiguration_SC3v2.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                   48
               130.   In the Single Cell 5’ Workflow Accused Products, the “thereby producing

a plurality of labeled targets” recited in step (a) occurs when “[t]he contents of the GEM […] are

incubated in a reverse transcription (RT) reaction to generate full-length, barcoded cDNA from

poly-adenylated mRNA.”39 As illustrated below40, this step produces “a plurality of labelled

targets.”




39
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
40
            (CG000109_AssayConfiguration_VDJ_RevD.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                49
               131.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products comprise “a label-tag of the plurality of diverse label-tags comprises nucleotides

selected from purine bases, pyrimidine bases, natural nucleotide bases, chemically modified

nucleotide bases, biochemically modified nucleotide bases, non-natural nucleotide bases” as

recited in substep (i) of step (a). As shown below41, label tags of the Single Cell 3’ Workflow

Accused Products comprise A, C, G, and T purine bases and pyrimidine bases.




41
  “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 4 (cropped)

                                                50
               132.    As shown below42, label tags of the Single Cell 5’ Workflow Accused

Products comprise A, C, G, and T purine bases and pyrimidine bases.




               133.    As illustrated below43, in the Single Cell 3’ Workflow Accused Products,

the reverse transcription reaction produces “a labeled target of the plurality of labeled targets”

comprising “a distinct label-tag and at least a portion of a nucleic acid target, or its

complementary sequence” as recited in substep (ii) of step (a) when “[t]he contents of the GEM

(oligos, lysed cell components and Master Mix) are incubated in an RT reaction to generate full-

length, barcoded cDNA from the poly A-tailed mRNA transcripts.” 44




42
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
43
           (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Table 1 (cropped)
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
44
           (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 3 (cropped, markings added)
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)

                                                  51
               134.    As illustrated below45, in the Single Cell 5’ Workflow Accused Products,

the reverse transcription reaction produces “a labeled target of the plurality of labeled targets”

comprising “a distinct label-tag and at least a portion of a nucleic acid target, or its

complementary sequence” as recited in substep (ii) of step (a) when “[t]he contents of the GEM

[…] are incubated in a reverse transcription (RT) reaction to generate full-length, barcoded

cDNA from poly-adenylated mRNA.”46




45
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Figure 3 (cropped, markings
added)
46
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                  52
               135.    In the Single Cell 3’ Workflow Accused Products, the “amplifying the

plurality of labeled-targets to produce a plurality of amplified labeled-targets, wherein an

amplified labeled-target of the plurality of amplified labeled-targets comprises a copy of at least

a portion of the nucleic acid target, or its complementary sequence, and a copy of the label-tag”

recited in step (b) occurs because “[t]he GEMs are then ‘broken’, pooling single-stranded,

barcoded cDNA molecules from every cell” and “[a] bulk PCR-amplification and Enzymatic

Fragmentation” follows.47 As illustrated below48, this amplification step results in the “amplified




47
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
48
            (CG000108_AssayConfiguration_SC3v2.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                 53
labeled-target of the plurality of amplified labeled-targets” that “comprises a copy of at least a

portion of the nucleic acid target, or its complementary sequence, and a copy of the label-tag.”




               136.    In the Single Cell 5’ Workflow Accused Products, “amplifying the

plurality of labeled-targets to produce a plurality of amplified labeled-targets, wherein an

amplified labeled-target of the plurality of amplified labeled-targets comprises a copy of at least

a portion of the nucleic acid target, or its complementary sequence, and a copy of the label-tag”

recited in step (b) occurs because “[t]he Single Cell V(D)J Solution offers the option to generate”

by PCR amplification, “Direct Target Enrichment” or “cDNA Amplification followed by Target

Enrichment.”49 As illustrated below50, the Direct Target Enrichment option results in the

“amplified labeled-target of the plurality of amplified labeled-targets” that “comprises a copy of

at least a portion of the nucleic acid target, or its complementary sequence, and a copy of the

label-tag.”




49
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
50
            (CG000109_AssayConfiguration_VDJ_RevD.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                 54
                 137.   As illustrated below51, the cDNA Amplification followed by Target

Enrichment option in the Single Cell 5’ Workflow Accused Products also results in the

“amplified labeled-target of the plurality of amplified labeled-targets” that “comprises a copy of

at least a portion of the nucleic acid target, or its complementary sequence, and a copy of the

label-tag.”




51
     Id. at Figure 4 (cropped, markings added)

                                                 55
               138.    In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products, the “detecting the plurality of amplified labeled-targets by sequencing at least a portion

of the target and the label-tag” recited in step (c) occurs because “[d]uring library preparation,

sequence components essential for Illumina sequencing and downstream data analysis are

incorporated into the final library construct,”52 and because “[t]he Single Cell 3’ Protocol

produces Illumina-ready sequencing libraries” 53 and “[t]he Single Cell V(D)J Solutions produce

V(D)J enriched and 5’ gene expression Illumina-ready sequencing libraries.”54 Once these

libraries are “generated and sequenced,” “the 10x Barcodes are used to associate individual reads

back to the individual partitions.”55

               139.    In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products, the “determining the number of copies of the nucleic acid target, as indicated by the

number of different label-tags that are associated with the nucleic acid target” recited in step (d)

occurs because the amplified products of step (c) are processed with “Cell Ranger™” analysis
52
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
53
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf)
54
   “Chromium™ Single Cell V(D)J Reagent Kits User
Guide”(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
55
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 56
software to perform “demultiplexing, alignment, and gene counting.”56 The information

generated with the Cell Ranger™ software is used for “cell clustering, cell type classification,

and differential gene expression at a scale of hundreds to millions of cells.” 57 “Cell Ranger is a

set of analysis pipelines [that perform gene expression analysis by] alignment, filtering, barcode

counting, and UMI counting,”58 which is “determining the number of copies of the nucleic acid

target, as indicated by the number of different label-tags that are associated with the nucleic acid

target.”

               140.    As demonstrated in Exhibit 15, the Single Cell 3’ Workflow Accused

Products satisfy the claim limitations of at least claims 1-6, 10, 12, 15, 17-20 of the ’857 patent.

As demonstrated in Exhibit 16, the Single Cell 5’ Workflow Accused Products satisfy the claim

limitations of at least claims 1-6, 10, 12, 17-20 of the ’857 patent. As demonstrated in Exhibit

17, the Spatial Transcriptomics Accused Products satisfy the claim limitations of at least

claims 1-6, 10, 12, 15, 17-21 of the ’857 patent. The demonstration of infringement illustrated in

Exhibits 15, 16, and 17 is offered by way of example only and without limitation to BD’s ability

to demonstrate Defendant’s direct, indirect, literal, or equivalent infringement of additional ’857

patent claims, including by making, using, selling, offering for sale, or importing additional

products or inducing or contributing to such acts.

               141.    10X has also induced and currently induces infringement of at least claim

1 of the ’857 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of




56
57
   Id.
58
   Id.
   https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger

                                                 57
operation, 10X knows infringes at least claim 1 of the ’857 patent.59 10X has known of the ’857

patent and of its infringement of that patent since at least May 2017. By providing its customers

with the Accused Products and those directions for use, 10X specifically intends that its

customers infringe the ’857 patent.

               142.   10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’857 patent. 10X has designed the Accused

Products specifically to be used in a manner as claimed at least claim 1 of the ’857 patent.60 As

such, the Accused Products are a material component of the patented combination, specifically

designed to be used according at least claim 1 of the ’857 patent, and especially made and

adapted for use in a manner that infringes at least claim 1 of the ’857 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 1 of the ’857 patent. 10X has knowledge of the ’857 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’857

patent.

               143.   Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’857 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’857 patent.

               144.   As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

59
   See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent
60
          Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
   See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                58
Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages, and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                       COUNT 3
                           (INFRINGEMENT OF THE ’137 PATENT)

                 145.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

                 146.    U.S. Patent No. 9,816,137 (the “’137 patent”), entitled “Digital Counting

of Individual Molecules by Stochastic Attachment of Diverse Labels,” was duly and legally

issued on November 14, 2017 to inventors Stephen P. A. Fodor and Glenn K. Fu. A true and

accurate copy of the ’137 patent is attached as Exhibit 3.

                 147.    Skilled artisans would understand that, prior to the inventions of the ’137

patent, numerous problems existed in the prior art relating to quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample. Analytical methods for measuring the abundance of

different molecules in a sample (e.g., nucleic acids) existed, but were generally comparative

techniques and were limited by signal to noise issues. Prior art techniques offered limited utility

in cases where samples comprised a large number of different molecules or where the number of

molecules of interest was low in comparison to the number of background molecules. See, e.g.,

’137 patent at 2:59-63; 3:7-10; 3:18-28; 3:33-37. Other drawbacks and limitations in prior art

methods included, for example:

             A requirement for one-to-one correspondence between probe sequences and
              oligonucleotide tag sequences in techniques where oligonucleotide tags are
              hybridized to their complements;

             A requirement for customizing dilutions for each type of molecule in digital methods,
              which generally limited the practice to analysis of a small number of different
              molecules and required physical separation of molecules;



                                                  59
          An inability to ensure that all sequences are captured in microarray and sequencing
           based technologies;

          A limited ability to correlate intensity of hybridization signal (or signal intensity) to
           the concentration of target molecules in hybridization-based methods;

          Variability relating to probe hybridization differences and cross-reactivity;

          Limitations on the ability to stochastically attach labels to known targets, in a known
           location, in the context of sequencing and amplification-based methodologies; and

          Dynamic range limitations in array-based methods.

See, e.g., id. at 2:7-15; 2:45-3:24; 3:33-37; 14:44-48; 19:50-59; 22:58-61; 23:13-20; 23:32-36;

24:18-22; 24:46-60; 33:7-17; 33:44-62.

               148.    Skilled artisans would understand that the inventions as recited in the

common specifications of the Fodor patents are generally directed to quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules.

See, e.g., ’137 patent at 3:41-4:9 (“High-sensitivity single molecule digital counting by the

stochastic labeling of a collection of identical molecules is disclosed. Each copy of a molecule

randomly chooses from a non-depleting reservoir of diverse labels. . . . The labeled fragments for

a target molecule of choice are detected with high specificity using a microarray readout system,

and with DNA sequencing. The results are consistent with a stochastic process, and yield highly

precise relative and absolute counting statistics of selected molecules within a vast background

of other molecules. . . . The attachment of the label confers a separate, determinable identity to

each occurrence of targets that may otherwise be indistinguishable.”). The claimed inventions of

the ’137 patent are directed in general to a method of analyzing a sample comprising a plurality

of nucleic acids by attaching a plurality of primers comprising different variable label regions to



                                                 60
the plurality of nucleic acids from the sample, extending the primers to produce a plurality of

labeled nucleic acids comprising different variable label regions and complementary copies of

the nucleic acids, and attaching second primers to produce double-stranded labeled nucleic acids.

More specifically, skilled artisans would understand that the asserted independent claims of the

’137 patent are directed to specific implementations of the inventions of the Fodor patents,

reciting “attaching a plurality of primers to the plurality of nucleic acids from the sample,

wherein each primer of the plurality of primers comprises a different variable label region, and

the plurality of nucleic acids comprises multiple occurrences of a target nucleic acid,” “extending

the plurality of primers attached to the plurality of nucleic acids to produce a plurality of labeled

nucleic acids, wherein each one of the plurality of labeled nucleic acids comprises (i) a variable

label region; and (ii) a complementary copy of a nucleic acid that was attached to a primer,” and

“attaching a plurality of second primers to the plurality of labeled nucleic acids and extending

the plurality of second primers to produce a plurality of double-stranded labeled nucleic acids”

(’137 patent, cl. 1). They would further understand that asserted dependent claims are directed to

further specific implementations of the methods recited in the independent claims, including

“wherein attaching the plurality of primers to the plurality of nucleic acids occurs in a stochastic

manner” (’137 patent, cl. 32).

               149.    Skilled artisans would further understand that (1) quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

is not an abstract idea but rather a concrete and tangible method for manipulating molecules and

generating new molecules that provides an improved method of quantitation; (2) the specific




                                                 61
implementations of the inventions of the Fodor patents recited in the claims of the ’137 patent

are not directed to an abstract idea, nor are the claims directed merely to labeling different

molecules or objects with different labels or all implementations thereof; (3) labeling nucleic

acids with different labels is not an abstract idea; (4) the claims do not describe concepts long-

practiced in society but rather claim novel and innovative methods used for quantitation of the

abundance of genetic material in a sample through the generation of new molecules by attaching

diverse labels to target molecules, including through stochastic attachment of diverse labels

and/or by multiplexing to allow simultaneous quantitation of multiple molecules, that improved

upon prior art methods; and (5) the claims do not merely limit an abstract idea to a specific

technological environment, e.g., DNA and nucleic acids.

               150.    Skilled artisans would further understand that the inventions claimed in

the ’137 patent provide numerous improvements and benefits over prior art methods. In addition

to addressing the aforementioned drawbacks and limitations of the prior art, the inventions of the

’137 patent also:

          Confer a separate, determinable identity to occurrences of targets that may otherwise
           be indistinguishable as a result of the diverse labels or label-tags in the newly-
           generated molecule;

          Allow simultaneous quantitation of multiple target sequences;

          Take quantitative measurements of copies of identical target molecules in a solution
           by transformation of the information into a digital process for detecting the presence
           of different or diverse labels or label-tags that are attached to the identical target
           molecules in a manner that is extremely sensitive and can be multiplexed to high
           levels;

          Allow newly-generated molecules comprising targets and diverse labels or label-tags
           to be amplified freely without impacting quantitation of the targets; and

          Convert an analog readout of hybridization signal intensities on arrays into a
           measurable process that can be scored digitally on the arrays by leveraging the
           diverse label-tags found in each newly-generated molecule, providing a clear cost-
           advantage over existing techniques.


                                                 62
See, e.g., ’137 patent at 3:41-43; 3:53-67; 4:7-9; 4:14-18; 14:44-48; 21:52-54; 23:13-20; 23:23-

26; 23:32-36; 23:39-46; 24:18-22; 25:52-55; 32:14-15; 32:62-65; 33:33-43. Skilled artisans

would understand that these benefits inure from the claimed inventions and inventive concepts

(alone or in combination with the other limitations), including the plurality of primers

comprising a different variable label region being attached to a plurality of nucleic acids to

generate a plurality of newly-generated labeled nucleic acids comprising a variable label region

and a complementary copy of a nucleic acid that was attached to a primer, including through

stochastic attachment of diverse labels and/or by multiplexing to allow simultaneous quantitation

of multiple molecules, the attaching of a plurality of second primers to the plurality of labeled

nucleic acids and extending the plurality of second primers to produce a plurality of double-

stranded labeled nucleic acids, and the other limitations (alone or in combination) of the

independent and dependent claims, including as described above and below.

               151.    Skilled artisans would further understand that quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

was not well-understood, routine, or conventional at the time of the invention. They would

further understand that the steps recited in the claims of the ’137 patent, either alone or in

combination and including those recited above and below, were not well-understood, routine, or

conventional at the time of the invention and are integral to addressing the problems in the prior

art remedied by the improved functionality of the claimed inventions and inventive concepts.

They would further understand that the specific structures and manipulations recited in the

claims of the ’137 patent, including a plurality of primers, a plurality of nucleic acids, a plurality




                                                  63
of second primers, a plurality of double-stranded labeled nucleic acids, a plurality of newly-

generated labeled nucleic acids, including through stochastic attachment of primers with variable

label regions and/or by multiplexing to allow simultaneous quantitation of multiple nucleic acids,

wherein each one of the plurality of labeled nucleic acids comprises a variable label region and a

complementary copy of a nucleic acid that was attached to a primer, are essential to addressing

the problems remedied by the improved functionality of the claimed inventions. See also supra ¶

150.

               152.    They would further understand that the additional limitations (alone or in

combination) of at least dependent claims 2-14, 18-24, 26-36, and 38-41 are not directed to an

abstract idea and recite inventive concepts for additional reasons, including that they recite

additional structure; are not routine, conventional, or well-known; improve upon prior art

methods by providing increased functionality; and do not risk preemption as a result of the

additional limitations in those claims.

               153.    They would further understand that claim 6 of the ’358 patent is not

substantially similar to nor linked to any abstract idea, much less the same abstract idea as all

claims of the ’137 patent, including because the claims of the ’137 patent recite additional,

tangible structures and manipulations, provide further improvements and innovations, address

additional technological problems, add one or more inventive concepts, and involve different

facts relating to issues of preemption and patentability that are not reflected in claim 6 of the

’358 patent. See also supra at ¶¶ 150-52.

               154.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’137 patent, including at least claim 1 of the ’137 patent




                                                 64
directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               155.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ’137 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’137 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               156.    In the Single Cell 3’ Workflow Accused Product “analyzing a sample

comprising a plurality of nucleic acids” occurs because “[t]he 10x™ GemCode™ Technology

samples a pool of ~ 750000 barcodes to separately index each cell’s transcriptome . . . by

partitioning thousands of cells into nanoliter-scale Gel Bead-In-EMulsions (GEMs)” 61 and

because cells contain a plurality of poly A-tailed mRNA transcripts,62 which is a “sample.” The

“Cell Ranger™” analysis software performs “demultiplexing, alignment, and gene counting”63

and the information generated with the Cell Ranger software is used for “cell clustering, cell type

classification, and differential gene expression at a scale of hundreds to millions of cells.” 64

“Cell Ranger is a set of analysis pipelines [that perform gene expression analysis by] alignment,




61
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
62
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
63
           (CG000108_AssayConfiguration_SC3v2.pdf
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf);
64
   Id.

                                                  65
filtering, barcode counting, and UMI counting,”65 which is “analyzing a sample comprising a

plurality of nucleic acids.”

               157.    In the Single Cell 5’ Workflow Accused Products “analyzing a sample

comprising a plurality of nucleic acids” occurs because “[t]he contents of the GEM (oligos, lysed

cell components and Master Mix that contains the Poly-dT RT primer) are incubated in a reverse

transcription (RT) reaction to generate full-length, barcoded cDNA [plurality of nucleic acids]

from poly-adenylated mRNA”66 which is a “sample” and because “Cell Ranger™” analysis

software performs “demultiplexing, alignment, and gene counting”67 and because the

information generated with the Cell Ranger software is used for “cell clustering, cell type

classification, and differential gene expression at a scale of hundreds to millions of cells.” 68

“Cell Ranger is a set of analysis pipelines [that perform gene expression analysis by] alignment,

filtering, barcode counting, and UMI counting,”69 which is “analyzing a sample comprising a

plurality of nucleic acids.”

               158.    In the Single Cell 3’ Workflow Accused Products, the “attaching a

plurality of primers to the plurality of nucleic acids from the sample, wherein each primer of the

plurality of primers comprises a different variable label region, and the plurality of nucleic acids

comprises multiple occurrences of a target nucleic acid” of step (a) in claim 1 occurs when “[t]he

contents of the GEM (oligos, lysed cell components and Master Mix) are incubated in an RT




65
   https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger
66
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
67
            (CG000109_AssayConfiguration_VDJ_RevD.pdf)
   “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
68
69
   Id.
   https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger

                                                  66
reaction to generate full-length, barcoded cDNA from the poly A-tailed mRNA transcripts.”70

As illustrated below,71 “each primer of the plurality of primers comprises a different variable

label region.” Further, “the plurality of nucleic acids comprises multiple occurrences of a target

nucleic acid” because cells contain a plurality of “poly A-tailed mRNA transcripts.”72




70
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
71
            (CG000108_AssayConfiguration_SC3v2.pdf)
72
   Id. at Figure 1, Figure 3 (cropped, markings added)
   Id.

                                                67
               159.    In the Single Cell 5’ Workflow Accused Products, the “attaching a

plurality of primers to the plurality of nucleic acids from the sample, wherein each primer of the

plurality of primers comprises a different variable label region, and the plurality of nucleic acids

comprises multiple occurrences of a target nucleic acid” of step (a) in claim 1 occurs when “[t]he

contents of the GEM […] are incubated in a reverse transcription (RT) reaction to generate full-

length, barcoded cDNA from poly-adenylated mRNA.”73




73
  “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                 68
               160.   As illustrated below,74 “each primer of the plurality of primers comprises a

different variable label region” in form of the 10 nucleotide Unique Molecular Identifier (UMI).

Further, “the plurality of nucleic acids comprises multiple occurrences of a target nucleic acid”

because the reverse transcription products are generated from a plurality of “poly-adenylated

mRNA” from the cell75




74
75
  Id. at Figure 1, Figure 3 (cropped, markings added)
  “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                69
               161.   As illustrated below,76 “each primer of the plurality of primers comprises a

different variable label region” because each of the beads in both workflows “contain millions of

oligo primers” 77 that comprise different “Unique Molecular Identifiers” that make up “a pool of

~ 750000 barcodes to separately index each cell’s transcriptome”78 As shown below79, these

barcodes in the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused Products are a

“10nt Unique Molecular Identifier.”




76
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
77
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
78
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent
79
         Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
   Id,

                                               70
               162.    Further, in the Single Cell 3’ Workflow and Single Cell 5’ Workflows,

“the plurality of nucleic acids comprises multiple occurrences of a target nucleic acid” because

cells contain a plurality of poly A-tailed mRNA transcripts.80

               163.    In the Single Cell 3’ Workflow Accused Products, the “extending the

plurality of primers attached to the plurality of nucleic acids to produce a plurality of labeled

nucleic acids” occurs because a “reverse transcription reaction is primed by the barcoded Gel

Bead oligo.”81 As illustrated below82, the “primers” hybridize to “the plurality of nucleic acids

from the sample” and thereby generate the “a plurality of labeled nucleic acids” by an extension

reaction wherein “each one of the plurality of labeled nucleic acids comprises (i) a variable label

region; and (ii) a complementary copy of a nucleic acid that was attached to a primer.”




80
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
81
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
82
            (CG000108_AssayConfiguration_SC3v2.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                 71
               164.    In the Single Cell 5’ Workflow Accused Products, the “extending the

plurality of primers attached to the plurality of nucleic acids to produce a plurality of labeled

nucleic acids wherein each one of the plurality of labeled nucleic acids comprises (i) a variable

label region; and (ii) a complementary copy of a nucleic acid that was attached to a primer”

occurs because the “Post GEM-RT Cleanup” step uses “DynaBeads MyOne Silane” beads to

binds DNA in the sample.83 On information and belief, “DynaBeads MyOne Silane” bind to

DNA fragments at least 50 base pairs in length or larger 84 and therefore will also bind the primer

indicated below.




83
   “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
84
   ThermoFisher Scientific “A complete Workflow for Circulating DNA Isolation and Analysis”

                                                 72
               165.    The “Post GEM-RT Cleanup” step uses nuclease free water, but does not

use ribonuclease-free water. 85 On information and belief, the presence of ribonucleases in the

“Post GEM-RT Cleanup Step” will result in degradation of the RNA in the duplex highlighted

above to yield the below structure.86




               166.    In the alternative, the Single Cell 5’ Workflow Accused Products, the

“extending the plurality of primers attached to the plurality of nucleic acids to produce a plurality

of labeled nucleic acids wherein each one of the plurality of labeled nucleic acids comprises (i) a

85
   “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
86
   This is illustration is a modification of the figure in the 10x materials adapted to demonstrate
the hybrid arising due to the presence of RNAses in the sample.

                                                 73
variable label region; and (ii) a complementary copy of a nucleic acid that was attached to a

primer” occurs because the RNA molecule in the below illustration is not covalently attached to

a DNA molecule.




               167.    On information and belief, the RNA molecule will dissociate from DNA

prior to the PCR amplification step to form the structure illustrated below:87




87
  This is illustration is a modification of the figure in the 10x materials adapted to demonstrate
the hybrid arising due to dissociation of RNA form the hybrid in the last step of the figure in the
preceding paragraph.

                                                74
               168.      In the next step of the Single Cell 5’ Workflow Accused Products, PCR

amplification is performed by “Direct Target Enrichment” or “cDNA Amplification followed by

Target Enrichment.”88 On information and belief, as illustrated with the arrow below, performing

either of the PCR extension step will result in “extending the plurality of primers attached to the

plurality of nucleic acids to produce a plurality of labeled nucleic acids.” As is illustrated below,

the extension products generated in this step are a “plurality of labeled nucleic acids

[comprising] (i) a variable label region; and (ii) a complementary copy of a nucleic acid that was

attached to a primer.”




               169.      In the Single Cell 3’ Workflow Accused Products, the “attaching a

plurality of second primers to the plurality of labeled nucleic acids and extending the plurality of

second primers to produce a plurality of double-stranded labeled nucleic acids" occurs because

“[t]he GEMs are then ‘broken’, pooling single-stranded, barcoded cDNA molecules from every

cell” and “[a] bulk PCR-amplification and Enzymatic Fragmentation” follows.89 As illustrated

below90, in the first step of the reaction, a plurality of PCR primers which are a “plurality of

second primers” attach to the plurality of labeled nucleic acids and extend “to produce a plurality

of double-stranded labeled nucleic acids.”




88
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
89
            (CG000109_AssayConfiguration_VDJ_RevD.pdf)
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
90
            (CG000108_AssayConfiguration_SC3v2.pdf)
   Id. at Figure 3 (cropped, markings added)

                                                 75
               170.   The Single Cell 5’ Workflow Accused Products “offers the option to

generate” by PCR amplification, “Direct Target Enrichment” or “cDNA Amplification followed

by Target Enrichment.”91 As illustrated below92, in the Direct Target Enrichment option of the

Single Cell 5’ Workflow Accused Products, the “attaching a plurality of second primers to the

plurality of labeled nucleic acids and extending the plurality of second primers to produce a

plurality of double-stranded labeled nucleic acids" occurs because “[a]fter incubation, the GEMs

are broken and the pooled post GEM-RT reaction mixtures are recovered,” followed by “PCR

amplification with primers.”93 As illustrated below94 a plurality of PCR “enrichment outer”

primers which are a “plurality of second primers” attach to the plurality of labeled nucleic acids

and extend “to produce a plurality of double-stranded labeled nucleic acids.”




91
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
92
            (CG000109_AssayConfiguration_VDJ_RevD.pdf)
93
   Id. at Figure 3 (cropped, markings added)
   “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
94
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Figure 3 (cropped, markings
added)

                                                76
               171.    As demonstrated in Exhibit 18, the Single Cell 3’ Workflow Accused

Products satisfy the claim limitations of at least claims 1-14, 18-23, 26-36, and 38-41 of the ’137

patent. As demonstrated in Exhibit 19, the Single Cell 5’ Workflow Accused Products satisfy

the claim limitations of at least claims 1-14, 18-24, 28, 29, 31-36, and 38-41 of the ’137 patent.

As demonstrated in Exhibit 20, the Spatial Transcriptomics Accused Products satisfy the claim

limitations of at least claims 1-4, 26-36, and 38-40 of the ’137 patent. The demonstration of

infringement illustrated in Exhibits 18, 19, and 20 is offered by way of example only and

without limitation to BD’s ability to demonstrate Defendant’s direct, indirect, literal, or

equivalent infringement of additional ’137 patent claims, including by making, using, selling,

offering for sale, or importing additional products or inducing or contributing to such acts.

               172.    10X has also induced and currently induces infringement of at least claim

1 of the ’137 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 1 of the ’137 patent.95 10X has known of the ’137

patent and of its infringement of that patent since at least May 2017. By providing its customers

with the Accused Products and those directions for use, 10X specifically intends that its

customers infringe the ’137 patent.

               173.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’137 patent. 10X has designed the Accused

Products specifically to be used in a manner as claimed at least claim 1 of the ’137 patent.96 As

such, the Accused Products are a material component of the patented combination, specifically

95
   See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent
96
          Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
   See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 77
designed to be used according at least claim 1 of the ’137 patent, and especially made and

adapted for use in a manner that infringes at least claim 1 of the ’137 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 1 of the ’137 patent. 10X has knowledge of the ’137 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’137

patent.

               174.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’137 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’137 patent.

               175.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                     COUNT 4
                         (INFRINGEMENT OF THE ’809 PATENT)

               176.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

               177.    U.S. Patent No. 9,290,809 (the “’809 patent”), entitled “Digital Counting

of Individual Molecules by Stochastic Attachment of Diverse Labels,” was duly and legally

issued on March 22, 2016 to inventors Stephen P. A. Fodor and Glenn K. Fu. A true and

accurate copy of the ’809 patent is attached as Exhibit 4.



                                                78
               178.    Skilled artisans would understand that, prior to the inventions of the ’809

patent, numerous problems existed in the prior art relating to quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample. Analytical methods for measuring the abundance of

different molecules in a sample (e.g., nucleic acids) existed, but were generally comparative

techniques and were limited by signal to noise issues. Prior art techniques offered limited utility

in cases where samples comprised a large number of different molecules or where the number of

molecules of interest was low in comparison to the number of background molecules. See, e.g.,

’809 patent at 2:57-61; 3:5-7; 3:15-24; 3:29-33. Other drawbacks and limitations in prior art

methods included, for example:

          A requirement for one-to-one correspondence between probe sequences and
           oligonucleotide tag sequences in techniques where oligonucleotide tags are
           hybridized to their complements;

          A requirement for customizing dilutions for each type of molecule in digital methods,
           which generally limited the practice to analysis of a small number of different
           molecules and required physical separation of molecules;

          An inability to ensure that all sequences are captured in microarray and sequencing
           based technologies;

          A limited ability to correlate intensity of hybridization signal (or signal intensity) to
           the concentration of target molecules in hybridization-based methods;

          Variability relating to probe hybridization differences and cross-reactivity;

          Limitations on the ability to stochastically attach labels to known targets, in a known
           location, in the context of sequencing and amplification-based methodologies; and

          Dynamic range limitations in array-based methods.

See, e.g., id. at 2:5-13; 2:43-3:20; 3:29-33; 14:36-40; 19:49-58; 22:50-53; 23:4-11; 23:22-26;

24:7-11; 24:35-48; 32:51-61; 33:20-38.

               179.    Skilled artisans would understand that the inventions as recited in the

common specifications of the Fodor patents are generally directed to quantitation of the



                                                 79
abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules.

See, e.g., ’809 patent at 3:37-4:4 (“High-sensitivity single molecule digital counting by the

stochastic labeling of a collection of identical molecules is disclosed. Each copy of a molecule

randomly chooses from a non-depleting reservoir of diverse labels. . . . The labeled fragments for

a target molecule of choice are detected with high specificity using a microarray readout system,

and with DNA sequencing. The results are consistent with a stochastic process, and yield highly

precise relative and absolute counting statistics of selected molecules within a vast background

of other molecules. . . . The attachment of the label confers a separate, determinable identity to

each occurrence of targets that may otherwise be indistinguishable.”). The claimed inventions of

the ’809 patent are directed in general to compositions and kits comprising a plurality of

oligonucleotide labels, each label comprising an oligo dT sequence, sequencing primer binding

site, as well as, a common sequence and a unique label tag. More specifically, skilled artisans

would understand that the asserted independent claims of the ’809 patent are directed to specific

implementations of the inventions of the Fodor patents, reciting “[a] composition” and “[a] kit”

“comprising a plurality of oligonucleotide labels, wherein each oligonucleotide label of the

plurality of oligonucleotide labels comprises an oligo dT sequence, a sequencing primer binding

site, a common sequence that is the same for all oligonucleotide labels of the plurality of

oligonucleotide labels, and a unique label tag sequence, wherein the unique label tag sequence is

selected from a set of . . . different label tag sequences” (’809 patent, cls. 1, 14).

                180.    Skilled artisans would further understand that (1) quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules




                                                   80
by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

is not an abstract idea but rather a concrete and tangible method for manipulating molecules and

generating new molecules that provide an improved method of quantitation; (2) the specific

implementations of the inventions of the Fodor patents recited in the claims of the ’809 patent

are not directed to an abstract idea, nor are the claims directed merely to labeling different

molecules or objects with different labels or all implementations thereof; (3) labeling nucleic

acids with different labels is not an abstract idea; (4) the claims do not describe concepts long-

practiced in society but rather claim novel and innovative compositions and kits used for

quantitation of the abundance of molecules, e.g., nucleic acids, in a sample through the

generation of new molecules by attaching diverse labels to target molecules, including through

stochastic attachment of diverse labels and/or by multiplexing to allow simultaneous quantitation

of multiple molecules, that improved upon prior art compositions and kits; and (5) the claims do

not merely limit an abstract idea to a specific technological environment, e.g., DNA and nucleic

acids.

                181.    Skilled artisans would further understand that the inventions claimed in

the ’809 patent provide numerous improvements and benefits over prior art methods. In addition

to addressing the aforementioned drawbacks and limitations of the prior art, the inventions of the

’809 patent also:

            Confer a separate, determinable identity to occurrences of targets that may otherwise
             be indistinguishable as a result of the diverse labels or label-tags in the newly-
             generated molecule;

            Allow simultaneous quantitation of multiple target sequences;

            Take quantitative measurements of copies of identical target molecules in a solution
             by transformation of the information into a digital process for detecting the presence
             of different or diverse labels or label-tags that are attached to the identical target


                                                 81
             molecules in a manner that is extremely sensitive and can be multiplexed to high
             levels;

            Allow newly-generated molecules comprising targets and diverse labels or label-tags
             to be amplified freely without impacting quantitation of the targets; and

            Convert an analog readout of hybridization signal intensities on arrays into a
             measurable process that can be scored digitally on the arrays by leveraging the
             diverse label-tags found in each newly-generated molecule, providing a clear cost-
             advantage over existing techniques.

See, e.g., ’809 patent at 3:37-39; 3:39-62; 4:1-4; 4:8-12; 14:36-40; 21:29-31; 23:4-11; 23:14-17;

23:22-26; 23:30-37; 24:7-11; 25:39-42; 31:59-60; 32:40-43; 33:9-19. Skilled artisans would

understand that these benefits inure from the claimed inventions and inventive concepts (alone or

in combination with the other limitations), including the plurality of oligonucleotide labels with

an oligo dT sequence, the sequencing primer binding site, the common sequence, and the unique

label tag sequence, which can be used for, e.g., stochastic attachment of diverse labels and/or

multiplexing to allow simultaneous quantitation of multiple molecules, and the other limitations

(alone or in combination) of the independent and dependent claims, including as described above

and below.

                182.    Skilled artisans would further understand that quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

was not well-understood, routine, or conventional at the time of the invention. They would

further understand that the claimed compositions and kits recited in the ’809 patent, including the

limitations recited above and below, comprising oligonucleotide labels with an oligo dT

sequence, a sequencing primer binding site, a common sequence, and a unique label tag

sequence, were not well-understood, routine, or conventional at the time of the invention and are



                                                 82
integral to addressing the problems in the prior art remedied by the improved functionality of the

claimed inventions and inventive concepts. They would further understand that the claims of the

’809 patent recite concrete and tangible compositions of matter and kits that amount to

significantly more than mere labels, as they are designed for quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample through the generation of new molecules by attaching

diverse labels to target molecules, including through stochastic attachment of diverse labels

and/or by multiplexing to allow simultaneous quantitation of multiple molecules. They would

further understand that the specific structures recited in the claims of the ’809 patent, including a

plurality of oligonucleotide labels, an oligo dT sequence, a sequencing primer binding site, a

common sequence, and a unique label tag sequence, are essential to addressing the problems

remedied by the improved functionality of the claimed inventions. See also supra ¶ 181.

               183.    They would further understand that the additional limitations (alone or in

combination) of at least dependent claims 2-4, 7-10, 13, and 17 are not directed to an abstract

idea and recite inventive concepts for additional reasons, including that they recite additional

structure; are not routine, conventional, or well-known; improve upon prior art methods by

providing increased functionality; and do not risk preemption as a result of the additional

limitations in those claims.

               184.    They would further understand that claim 6 of the ’358 patent is not

substantially similar to nor linked to any abstract idea, much less the same abstract idea as all

claims of the ’809 patent, including because the claims of the ’809 patent recite additional,

tangible structures, provide further improvements and innovations, address additional

technological problems, add one or more inventive concepts, and involve different facts relating

to issues of preemption and patentability that are not reflected in claim 6 of the ’358 patent, and




                                                 83
because claim 6 of the ’358 patent recites a method, while the claims of the ’809 patent recite

compositions and kits. See also supra at ¶¶ 181-83.

               185.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’809 patent, including at least claim 1 of the ’809 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               186.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ‘809 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’809 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               187.    Each Gel Bead of the Single Cell 3’ Workflow Accused Products

contains “a plurality of oligonucleotide labels” since the Gel Beads comprise “millions of oligo

primers that comprise different Unique Molecular Identifiers” 97 that make up “a pool of ~

750000 barcodes to separately index each cell’s transcriptome”98 As shown below99, “each

oligonucleotide label of the plurality of oligonucleotide labels” in the Single Cell 3’ Workflow

Accused Products comprise (i) “an oligo dT sequence” (“30nt Poly(dT) primer sequence”), (ii)


97
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
98
           (CG000108_AssayConfiguration_SC3v2.pdf)
   “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf)
99
   Id.

                                                 84
“a sequencing primer binding site” (“an Illumina® R1 sequence (read 1 sequencing primer)”),100

(iii) “a common sequence that is the same for all oligonucleotide labels of the plurality of

oligonucleotide labels” (“16 nt 10x Barcode”)101, and (iv) “a unique label tag sequence, wherein

the unique label tag sequence is selected from a set of at least m different label tag sequences”

(“10 nt Unique Molecular Identifier”).102




               188.    As demonstrated in Exhibit 21, the Single Cell 3’ Workflow Accused

Products satisfy the claim limitations of at least claims 1-4, 7-10, and 14 of the ’809 patent. As

demonstrated in Exhibit 22, the Spatial Transcriptomics Accused Products satisfy the claim

limitations of at least claims 1-4, 7-10, 13, 14, and 17 of the ’809 patent. The demonstration of

infringement illustrated in Exhibits 21 and 22 is offered by way of example only and without

limitation to BD’s ability to demonstrate Defendant’s direct, indirect, literal, or equivalent

infringement of additional ’809 patent claims, including by making, using, selling, offering for

sale, or importing additional products or inducing or contributing to such acts.

100
    “During library preparation, sequence components essential for Illumina sequencing and
downstream data analysis are incorporated into the final library construct.” See “TECHNICAL
NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2 Libraries”
(CG000108_AssayConfiguration_SC3v2.pdf)
101
    All of the oligonucleotides of a gel bead “share a common 10x Barcode.” See “Chromium™
Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
102
    “The 10x™ GemCode™ Technology samples a pool of ~ 750000 barcodes.” See
“Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)

                                                 85
               189.    10X has also induced and currently induces infringement of at least claim

1 of the ’809 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, induces customers to use a composition that infringes at least claim 1 of the ’809

patent.103 10X has known of the ’809 patent and of its infringement of that patent since at least

May 2017. By providing its customers with the Accused Products and those directions for use,

10X specifically intends that its customers infringe the ’809 patent.

               190.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’809 patent. 10X has designed the Accused

Products specifically to be used with the composition as claimed at least claim 1 of the ’809

patent.104 As such, the Accused Products are a material component of the patented combination,

specifically designed for use with the composition of at least claim 1 of the ’809 patent, and

especially made and adapted for use in a manner that infringes at least claim 1 of the ’809 patent.

The Accused Products are not staple articles of commerce and they do not have substantial uses

that do not infringe at least claim 1 of the ’809 patent. 10X has knowledge of the ’809 patent and

is aware that the Accused Products are especially made to be used in a system that infringes the

’809 patent.

               191.    10X also has induced and currently induces infringement of at least claim

2 of the ’809 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,




103
    See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
104
    See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                86
along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 2 of the ’809 patent.105

               192.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 2 of the ’809 patent. 10X has designed the Accused

Products specifically to be used in a manner that generates the composition as claimed in at least

claim 2 of the ’809 patent.106 As such, the Accused Products are a material component of the

patented combination, specifically designed to make a composition according to at least claim 2

of the ’809 patent, and especially made and adapted for use in a manner that infringes at least

claim 2 of the ’809 patent. The Accused Products are not staple articles of commerce and they do

not have substantial uses that do not infringe at least claim 2 of the ’809 patent. 10X has

knowledge of the ’809 patent and is aware that the Accused Products are especially made to be

used in a system that makes a composition that infringes the ’809 patent.

               193.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’809 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’809 patent.

               194.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive



105
    See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
106
    See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 87
relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                       COUNT 5
                           (INFRINGEMENT OF THE ’808 PATENT)

                 195.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

                 196.    U.S. Patent No. 9,290,808 (the “’808 patent”), entitled “Digital Counting

of Individual Molecules by Stochastic Attachment of Diverse Labels,” was duly and legally

issued on March 22, 2016 to inventors Stephen P. A. Fodor and Glenn K. Fu. A true and

accurate copy of the ’808 patent is attached as Exhibit 5.

                 197.    Skilled artisans would understand that, prior to the inventions of the ’808

patent, numerous problems existed in the prior art relating to quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample. Analytical methods for measuring the abundance of

different molecules in a sample (e.g., nucleic acids) existed, but were generally comparative

techniques and were limited by signal to noise issues. Prior art techniques offered limited utility

in cases where samples comprised a large number of different molecules or where the number of

molecules of interest was low in comparison to the number of background molecules. See, e.g.,

’808 patent at 2:57-61; 3:5-7; 3:15-24; 3:29-33. Other drawbacks and limitations in prior art

methods included, for example:

             A requirement for one-to-one correspondence between probe sequences and
              oligonucleotide tag sequences in techniques where oligonucleotide tags are
              hybridized to their complements;

             A requirement for customizing dilutions for each type of molecule in digital methods,
              which generally limited the practice to analysis of a small number of different
              molecules and required physical separation of molecules;

             An inability to ensure that all sequences are captured in microarray and sequencing
              based technologies;


                                                  88
          A limited ability to correlate intensity of hybridization signal (or signal intensity) to
           the concentration of target molecules in hybridization-based methods;

          Variability relating to probe hybridization differences and cross-reactivity;

          Limitations on the ability to stochastically attach labels to known targets, in a known
           location, in the context of sequencing and amplification-based methodologies; and

          Dynamic range limitations in array-based methods.

See, e.g., id. at 2:5-13; 2:43-3:20; 3:29-33; 14:36-40; 19:28-37; 22:31-34; 22:52-59; 23:3-7;

23:55-59; 24:16-29; 32:32-42; 33:1-20.

               198.    Skilled artisans would understand that the inventions as recited in the

common specifications of the Fodor patents are generally directed to quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules.

See, e.g., ’808 patent at 3:37-4:4 (“High-sensitivity single molecule digital counting by the

stochastic labeling of a collection of identical molecules is disclosed. Each copy of a molecule

randomly chooses from a non-depleting reservoir of diverse labels. . . . The labeled fragments for

a target molecule of choice are detected with high specificity using a microarray readout system,

and with DNA sequencing. The results are consistent with a stochastic process, and yield highly

precise relative and absolute counting statistics of selected molecules within a vast background

of other molecules. . . . The attachment of the label confers a separate, determinable identity to

each occurrence of targets that may otherwise be indistinguishable.”). The claimed inventions of

the ’808 patent are directed in general to a method for determining a number of occurrences of a

target molecule from a single cell comprising steps of generating an indexed library by

performing a labeling step that combines target molecules with diverse label-tag sequences,

wherein the ratio of the number of diverse label-tag sequences to the number of occurrences of a


                                                 89
target molecule is greater than 5, to thereby generate target-label-tag molecules via hybridization

and an extension reaction, amplifying the target-label-tag molecules, and sequencing at least a

portion of the target-label-tag molecules. More specifically, skilled artisans would understand

that the asserted independent claims of the ’808 patent are directed to specific implementations

of the inventions of the Fodor patents, reciting “generating an indexed library by performing a

labeling step, the labeling step comprising” “combining in a specified container a sample

comprising a plurality of target molecules from the single cell with a plurality of diverse label-

tag, wherein the ratio of the number of diverse label-tag sequences to the number of occurrences

of a target molecule is greater than 5” and “generating a plurality of target-label-tag molecules

by hybridizing label-tags of the plurality of diverse label-tag to target molecules of the plurality

of target molecules and performing an extension reaction, wherein a target-label-tag molecule

comprises a label-tag and a portion of a complementary sequence of a target molecule,”

“amplifying the target-label-tag molecules from the indexed library,” and “sequencing at least a

portion of the amplified product . . . to determine a number of different label-tag sequences

associated with the portion of the complementary sequence of a target molecule from the single

cell” (’808 patent, cl. 1). They would further understand that asserted dependent claims are

directed to further specific implementations of the methods recited in the independent claims,

including “wherein the method is multiplexed” (’808 patent, cl. 3) and “wherein the attaching is

stochastic” (’808 patent, cl. 23).

               199.    Skilled artisans would further understand that (1) quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,




                                                 90
is not an abstract idea but rather a concrete and tangible method for manipulating molecules and

generating new molecules that provide an improved method of quantitation; (2) the specific

implementations of the inventions of the Fodor patents recited in the claims of the ’808 patent

are not directed to an abstract idea, nor are the claims directed merely to labeling different

molecules or objects with different labels or all implementations thereof; (3) labeling nucleic

acids with different labels is not an abstract idea; (4) the claims do not describe concepts long-

practiced in society but rather claim novel and innovative methods used for quantitation of the

abundance of genetic material in a sample through the generation of new molecules by attaching

diverse labels to target molecules, including through stochastic attachment of diverse labels

and/or by multiplexing to allow simultaneous quantitation of multiple molecules, that improved

upon prior art methods; and (5) the claims do not merely limit an abstract idea to a specific

technological environment, e.g., DNA and nucleic acids.

               200.    Skilled artisans would further understand that the inventions claimed in

the ’808 patent provide numerous improvements and benefits over prior art methods. In addition

to addressing the aforementioned drawbacks and limitations of the prior art, the inventions of the

’808 patent also:

          Confer a separate, determinable identity to occurrences of targets that may otherwise
           be indistinguishable as a result of the diverse labels or label-tags in the newly-
           generated molecule;

          Allow simultaneous quantitation of multiple target sequences;

          Take quantitative measurements of copies of identical target molecules in a solution
           by transformation of the information into a digital process for detecting the presence
           of different or diverse labels or label-tags that are attached to the identical target
           molecules in a manner that is extremely sensitive and can be multiplexed to high
           levels;

          Allow newly-generated molecules comprising targets and diverse labels or label-tags
           to be amplified freely without impacting quantitation of the targets; and



                                                 91
          Convert an analog readout of hybridization signal intensities on arrays into a
           measurable process that can be scored digitally on the arrays by leveraging the
           diverse label-tags found in each newly-generated molecule, providing a clear cost-
           advantage over existing techniques.

See, e.g., ’808 patent at 3:37-39; 3:49-62; 4:1-4; 4:8-12; 14:36-40; 21:10-12; 22:52-59; 22:62-65;

23:3-7; 23:11-18; 23:55-59; 25:21-24; 31:40-41; 32:21-24; 32:57-67. Skilled artisans would

understand that these benefits inure from the claimed inventions and inventive concepts (alone or

in combination with the other limitations), including the diverse label-tag sequences being

attached to target molecules from a single cell, wherein the ratio of the number of diverse label-

tag sequences to the number of occurrences of a target molecule is greater than 5, to generate

new target-label-tag molecules comprising a label-tag and a portion of a complementary

sequence of a target molecule, including through stochastic attachment of diverse label-tags

and/or by multiplexing to allow simultaneous quantitation of multiple molecules, the

amplification of the target-label-tag molecules, and the other limitations (alone or in

combination) of the independent and dependent claims, including as described above and below.

               201.    Skilled artisans would further understand that quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

was not well-understood, routine, or conventional at the time of the invention. They would

further understand that the steps recited in the claims of the ’808 patent, either alone or in

combination, were not well-understood, routine, or conventional at the time of the invention and

are integral to addressing the problems in the prior art remedied by the improved functionality of

the claimed inventions and inventive concepts. They would further understand that the specific

structures and manipulations recited in the claims of the ’808 patent, including a single cell, an



                                                 92
indexed library, a specified container, a plurality of target molecules from the single cell, a

plurality of diverse label-tags, diverse label-tag sequences, wherein the ratio of the number of

diverse label-tag sequences to the number of occurrences of a target molecule is greater than 5, a

complementary sequence of a target molecule, amplified product, sequencing at least a portion of

the amplified product, and a plurality of newly-generated target-label-tag molecules, including

through stochastic hybridization of diverse label-tags and/or by multiplexing to allow

simultaneous quantitation of multiple molecules, are essential to addressing the problems

remedied by the improved functionality of the claimed inventions. See also supra ¶ 200.

               202.    They would further understand that additional limitations (alone or in

combination) of at least dependent claims 2-4, 6-11, 13-17, 20, 21, 23-27, and 29 are not directed

to an abstract idea and recite inventive concepts for additional reasons, including that they recite

additional structure; are not routine, conventional, or well-known; improve upon prior art

methods by providing increased functionality; and do not risk preemption as a result of the

additional limitations in those claims.

               203.    They would further understand that claim 6 of the ’358 patent is not

substantially similar to nor linked to any abstract idea, much less the same abstract idea as all

claims of the ’808 patent, including because the claims of the ’808 patent recite additional,

tangible structures and manipulations, provide further improvements and innovations, address

additional technological problems, add one or more inventive concepts, and involve different

facts relating to issues of preemption and patentability that are not reflected in claim 6 of the

’358 patent. See also supra at ¶¶ 200-02.

               204.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues




                                                 93
to infringe one or more claims of the ’808 patent, including at least claim 1 of the ’808 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               205.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ‘808 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’808 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               206.    As shown below the Single Cell 3’ Workflow and Single Cell 5’

Workflow Accused Products are “a method for determining a number of occurrences of a target

molecule from a single cell” because the “Cell Ranger™” analysis software performs

“demultiplexing, alignment, and gene counting”107 and because the information generated with

the Cell Ranger software is used for “cell clustering, cell type classification, and differential gene

expression at a scale of hundreds to millions of cells.” 108 “Cell Ranger is a set of analysis

pipelines [that perform gene expression analysis by] alignment, filtering, barcode counting, and

UMI counting,”109 which is “determining a number of occurrences of a target molecule from a

single cell.” “The 10x™ GemCode™ Technology partition[s] thousands of cells” with the 10x



107
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
108
109
    Id.
    https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger

                                                 94
Barcoded Gel Beads “into nanoliter-scale Gel Bead-In-EMulsions (GEMs).”110 As illustrated

below111, “the cells are delivered at a limiting dilution, such that the majority (~90-99%) of

generated GEMs contains no cell, while the remainder largely contain a single cell.”112




               207.    In the Single Cell 3’ Workflow Accused Products, “generating an

indexed library by performing a labeling step comprising: (i) combining in a specified container

a sample comprising a plurality of target molecules from the single cell with a plurality of

diverse label-tag” as recited in step (a) and substep (a)(i) of claim 1 occurs because “[t]he

contents of the GEM (oligos, lysed cell components and Master Mix) are incubated in an RT

reaction to generate full-length, barcoded cDNA from the poly A-tailed mRNA transcripts.”113

In the Single Cell 3’ Workflow Accused Products, “the ratio of the number of diverse label-tag

sequences to the number of occurrences of a target molecule is greater than 5” as recited in step

(a) and substep (a)(i) of claim 1 because “[t]he 10x™ GemCode™ Technology samples a pool of

110
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
111
112
    Id.
113
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); see also “TECHNICAL NOTE Assay
Scheme and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                 95
~ 750000 barcodes to separately index each cell’s transcriptome,”114 and because the “number of

each of the plurality of target molecules” is less than 150000. For example, single cell analysis

shows “~4,500 genes and 27,000 transcripts […] detected” in human and mouse cells.115

                208.     In the Single Cell 3’ Workflow Accused Products, “generating a plurality

of target-label-tag molecules by hybridizing label-tags of the plurality of diverse label-tag to

target molecules of the plurality of target molecules and performing an extension reaction,

wherein a target-label-tag molecule comprises a label-tag and a portion of a complementary

sequence of a target molecule” as recited in substep (ii) of step (a) occurs because a “reverse

transcription reaction is primed by the barcoded Gel Bead oligo.”116 As illustrated below117, the

“label-tags of the plurality of diverse label-tag ” hybridize to “target molecules of the plurality of

target molecules ” and thereby generate the “a plurality of target-label-tag molecules ” by an

extension reaction. Further, as illustrated below118, the resulting “target-label-tags molecules”

comprise “a label-tag and a portion of a complementary sequence of a target molecule” as recited

in substep (ii) of step (a).




114
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
115
    Chromium™ Single Cell Solutions 10x Single Cell App Note
(10x_Single_Cell_App_Note.pdf)
116
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
117
             (CG000108_AssayConfiguration_SC3v2.pdf)
118
    Id. at Figure 3 (cropped, markings added)
    Id.

                                                 96
               209.    In the Single Cell 5’ Workflow Accused Products, “generating a plurality

of target-label-tag molecules by hybridizing label-tags of the plurality of diverse label-tag to

target molecules of the plurality of target molecules and performing an extension reaction” as

recited in claim 1 step (a) substep (ii) occurs because “[t]he contents of the GEM […] are

incubated in a reverse transcription (RT) reaction to generate full-length, barcoded cDNA from

poly-adenylated mRNA.”119 As illustrated below120, the “label-tags of the plurality of diverse

label tags” hybridize to a reverse transcription product which is the “target molecule.”




119
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
120
             (CG000109_AssayConfiguration_VDJ_RevD.pdf)
    Id. at Figure 3 (cropped, markings added)

                                                 97
               210.    On information and belief, the RNA molecule will dissociate from DNA

prior to the PCR amplification step to form the structure illustrated below:121




               211.    In the next step of the Single Cell 5’ Workflow Accused Products, PCR

amplification is performed by “Direct Target Enrichment” or “cDNA Amplification followed by

Target Enrichment.”122 On information and belief, as illustrated with the arrow below,

performing either of the PCR extension step will result in “performing an extension reaction,

wherein a target-label-tag molecule comprises the label-tag and a portion of a complementary

121
    This illustration is a modification of the figure in the 10x materials adapted to demonstrate the
hybrid arising due to dissociation of RNA from the hybrid in the last step of the figure in the
preceding
122
            paragraph.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                 98
sequence of a target molecule.” As is illustrated below, the extension products generated in this

step are “a target-label-tag molecule [comprising] the label-tag and a portion of a complementary

sequence of the target molecule.”




               212.    In the Single Cell 3’ Workflow Accused Products, the “amplifying the

target-label-tag molecules from the indexed library” recited in step (b) of claim 1 occurs because

“[t]he GEMs are then ‘broken’, pooling single-stranded, barcoded cDNA molecules from every

cell” and “[a] bulk PCR-amplification and Enzymatic Fragmentation” follows.123 As illustrated

below124, this PCR step results in amplification of the target-label-tag molecules.




               213.    In the Single Cell 5’ Workflow Accused Products, the “amplifying the

target-label-tag molecules from the indexed library” recited in step (b) of claim 1 occurs because

“[t]he Single Cell V(D)J Solution offers the option to generate” by PCR amplification, “Direct

Target Enrichment” or “cDNA Amplification followed by Target Enrichment.”125 As illustrated




123
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
124
             (CG000108_AssayConfiguration_SC3v2.pdf)
125
    Id. at Figure 3 (cropped, markings added)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                99
below126, the PCR step in “Direct Target Enrichment” option results in amplification of the

target-label-tag molecules.




                  214.   As illustrated below127, the PCR step in “cDNA Amplification followed

by Target Enrichment” option also results in amplification of the target-label-tag molecules.




                  215.   In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products, the “sequencing at least a portion of the amplified product of step (b) to determine a

number of different label-tag sequences associated with the portion of the complementary

sequence of a target molecule from the single cell” as recited in step (c) of claim 1 occurs

because “[d]uring library preparation, sequence components essential for Illumina sequencing


126
127
      Id. at Figure 3 (cropped)
      Id. at Figure 4 (cropped)

                                                100
and downstream data analysis are incorporated into the final library construct,”128 and because

the Single Cell 3’ and Single Cell 5’ Workflows produce “Illumina-ready sequencing libraries”

and the libraries “generated and sequenced from the cDNA and the 10x Barcodes are used to

associate individual reads back to the individual partitions.”129

               216.     Further, sequencing in the Single Cell 3’ Workflow and Single Cell 5’

Workflow Accused Products produces a result wherein “the number of different label-tag

sequences indicates the number of occurrences of the target molecule from the single cell”

because once these libraries are “generated and sequenced,” “the 10x Barcodes are used to

associate individual reads back to the individual partitions.”130 Correlation between “the number

of different label-tag sequences” and “the number of occurrences of the target molecule from the

single cell” as recited in step (c) occurs because the amplified products of step (b) of claim 1 are

processed with “Cell Ranger™” analysis software to perform “demultiplexing, alignment, and

gene counting.”131 The information generated with the Cell Ranger™ software can be used for

“cell clustering, cell type classification, and differential gene expression at a scale of hundreds to

millions of cells.”132 “Cell Ranger™ is a set of analysis pipelines [that perform gene expression

analysis by] alignment, filtering, barcode counting, and UMI counting,”133 which is a sub-

element wherein “the number of different label-tag sequences indicates the number of

occurrences of the target molecule from the single cell.”



128
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
129
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
130
131
    Id.
132
    Id.
133
    Id.
    https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger

                                                 101
               217.    As demonstrated in Exhibit 23, the Single Cell 3’ Workflow Accused

Products satisfy the claim limitations of at least claims 1-4, 7-11, 13-17, 20, 21, 23-27, and 29 of

the ’808 patent. As demonstrated in Exhibit 24, the Single Cell 5’ Workflow Accused Products

satisfy the claim limitations of at least claims 1-4, 6, 9-11, 13-16, 20, 21, 23-27, and 29 of the

’808 patent. As demonstrated in Exhibit 25, the Spatial Transcriptomics Accused Products

satisfy the claim limitations of at least claims 1-4, 6-11, 13-17, 20, 21, 23-27, and 29 of the ’808

patent. The demonstration of infringement illustrated in Exhibits 23, 24, and 25 is offered by

way of example only and without limitation to BD’s ability to demonstrate Defendant’s direct,

indirect, literal, or equivalent infringement of additional ’808 patent claims, including by

making, using, selling, offering for sale, or importing additional products or inducing or

contributing to such acts.

               218.    10X has also induced and currently induces infringement of at least claim

1 of the ’808 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 1 of the ’808 patent.134 10X has known of the ’808

patent and of its infringement of that patent since at least May 2017. By providing its customers

with the Accused Products and those directions for use, 10X specifically intends that its

customers infringe the ’808 patent.

               219.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’808 patent. 10X has designed the Accused




134
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 102
Products specifically to be used in a manner as claimed at least claim 1 of the ’808 patent.135 As

such, the accused products are a material component of the patented combination, specifically

designed to be used according to at least claim 1 of the ’808 patent, and especially made and

adapted for use in a manner that infringes at least claim 1 of the ’808 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 1 of the ’808 patent. 10X has knowledge of the ’808 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’808

patent.

               220.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’808 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’808 patent.

               221.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                     COUNT 6
                         (INFRINGEMENT OF THE ’659 PATENT)

               222.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.


135
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                103
               223.    U.S. Patent No. 9,708,659 (the “’659 patent”), entitled “Digital Counting

of Individual Molecules by Stochastic Attachment of Diverse Labels,” was duly and legally

issued on July 18, 2017 to inventors Stephen P. A. Fodor and Glenn K. Fu. A true and accurate

copy of the ’659 patent is attached as Exhibit 6.

               224.    Skilled artisans would understand that, prior to the inventions of the ’659

patent, numerous problems existed in the prior art relating to quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample. Analytical methods for measuring the abundance of

different molecules in a sample (e.g., nucleic acids) existed, but were generally comparative

techniques and were limited by signal to noise issues. Prior art techniques offered limited utility

in cases where samples comprised a large number of different molecules or where the number of

molecules of interest was low in comparison to the number of background molecules. See, e.g.,

’659 patent at 2:59-63; 3:7-10; 3:18-28; 3:33-37. Other drawbacks and limitations in prior art

methods included, for example:

          A requirement for one-to-one correspondence between probe sequences and
           oligonucleotide tag sequences in techniques where oligonucleotide tags are
           hybridized to their complements;

          A requirement for customizing dilutions for each type of molecule in digital methods,
           which generally limited the practice to analysis of a small number of different
           molecules and required physical separation of molecules;

          An inability to ensure that all sequences are captured in microarray and sequencing
           based technologies;

          A limited ability to correlate intensity of hybridization signal (or signal intensity) to
           the concentration of target molecules in hybridization-based methods;

          Variability relating to probe hybridization differences and cross-reactivity;

          Limitations on the ability to stochastically attach labels to known targets, in a known
           location, in the context of sequencing and amplification-based methodologies; and

          Dynamic range limitations in array-based methods.



                                                104
See, e.g., id. at 2:7-15; 2:45-3:24; 3:33-37; 14:51-55; 19:55-64; 22:64-67; 23:19-26; 23:38-42;

24:23-27; 24:51-65; 33:14-24; 33:51-34:2.

               225.    Skilled artisans would understand that the inventions as recited in the

common specifications of the Fodor patents are generally directed to quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules.

See, e.g., ’659 patent at 3:41-4:9 (“High-sensitivity single molecule digital counting by the

stochastic labeling of a collection of identical molecules is disclosed. Each copy of a molecule

randomly chooses from a non-depleting reservoir of diverse labels. . . . The labeled fragments for

a target molecule of choice are detected with high specificity using a microarray readout system,

and with DNA sequencing. The results are consistent with a stochastic process, and yield highly

precise relative and absolute counting statistics of selected molecules within a vast background

of other molecules. . . . The attachment of the label confers a separate, determinable identity to

each occurrence of targets that may otherwise be indistinguishable.”). The claimed inventions of

the ’659 patent are directed in general to a system for counting a number of nucleic acid target

molecules that are present in a single cell. The system comprises at least more different labels

(from a set of diverse labels) than the number of nucleic acid target molecules. The system

further comprises reaction vessels for attaching the different labels to the nucleic acid target

molecules and processing software for counting the number of nucleic acid target molecules

from a number of labeled nucleic acid target molecules detected. More specifically, skilled

artisans would understand that the asserted independent claims of the ’659 patent are directed to

specific implementations of the inventions of the Fodor patents, reciting “[a] system for counting




                                                105
n, wherein n is a number of nucleic acid target molecules that are present in a single cell”

comprising “a diverse set of labels, wherein the set comprises m different labels, wherein the

ratio of m to n is greater than 5,” “a plurality of reaction vessels for attaching a label from the

diverse set of labels to each occurrence of the nucleic acid target molecules from each single cell

from said sample comprising cells to generate a set of labeled nucleic acid target molecules,

wherein the individual labeled nucleic acid target molecules comprise all or a portion of the

complementary sequence of a nucleic acid target molecule and a label from the diverse set of

labels,” and “processing software for counting [a number of nucleic acid target molecules present

in a single cell]” (’659 patent, cl. 1) and “[a] system for counting n, wherein n is a number of

nucleic acid target molecules that are present in a single cell” comprising “a diverse set of labels

comprising a plurality of oligonucleotides attached to each bead of a plurality of beads, wherein

the set of labels comprises m different labels, wherein m>n, and wherein each oligonucleotide of

the plurality of oligonucleotides comprises a common sequence, a variable target label sequence,

and a target-specific recognition sequence capable of attaching to or hybridizing to the target

molecule,” “a plurality of reaction vessels comprising a single cell from said sample comprising

cells and a single bead from said plurality of beads, wherein each reaction vessel is used for

attaching a label from the diverse set of labels attached to the bead contained therein to each

occurrence of the nucleic acid target molecules from the single cell contained therein to generate

a set of labeled nucleic acid target molecules, wherein the individual labeled nucleic acid target

molecules comprise all or a portion of the complementary sequence of a nucleic acid target

molecule and a label from the diverse set of labels,” and “processing software for counting [a

number of nucleic acid target molecules present in a single cell]” (’659 patent, cl. 13).




                                                 106
               226.    Skilled artisans would further understand that (1) quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

is not an abstract idea but rather a concrete and tangible method for manipulating molecules and

generating new molecules that provide an improved method of quantitation; (2) the specific

implementations of the inventions of the Fodor patents recited in the claims of the ’659 patent

are not directed to an abstract idea, nor are the claims directed merely to labeling different

molecules or objects with different labels or all implementations thereof; (3) labeling nucleic

acids with different labels is not an abstract idea; (4) the claims do not describe concepts long-

practiced in society but rather claim novel and innovative systems used for quantitation of the

abundance of genetic material in a sample through the generation of new molecules by attaching

diverse labels to target molecules, including through stochastic attachment of diverse labels

and/or by multiplexing to allow simultaneous quantitation of multiple molecules, that improved

upon prior art methods; and (5) the claims do not merely limit an abstract idea to a specific

technological environment, e.g., DNA and nucleic acids.

               227.    Skilled artisans would further understand that the inventions claimed in

the ’659 patent provide numerous improvements and benefits over prior art methods. In addition

to addressing the aforementioned drawbacks and limitations of the prior art, the inventions of the

’659 patent also:

          Confer a separate, determinable identity to occurrences of targets that may otherwise
           be indistinguishable as a result of the diverse labels or label-tags in the newly-
           generated molecule;

          Allow simultaneous quantitation of multiple target sequences;




                                                107
          Take quantitative measurements of copies of identical target molecules in a solution
           by transformation of the information into a digital process for detecting the presence
           of different or diverse labels or label-tags that are attached to the identical target
           molecules in a manner that is extremely sensitive and can be multiplexed to high
           levels;

          Allow newly-generated molecules comprising targets and diverse labels or label-tags
           to be amplified freely without impacting quantitation of the targets; and

          Convert an analog readout of hybridization signal intensities on arrays into a
           measurable process that can be scored digitally on the arrays by leveraging the
           diverse label-tags found in each newly-generated molecule, providing a clear cost-
           advantage over existing techniques.

See, e.g., ’659 patent at 3:41-43; 3:53-67; 4:7-9; 4:14-18; 14:51-55; 21:39-41; 23:19-26; 23:29-

32; 23:38-42; 23:45-52; 24:23-27; 25:58-61; 32:20-21; 33:1-4; 33:40-50. Skilled artisans would

understand that these benefits inure from the claimed inventions and inventive concepts (alone or

in combination with the other limitations), including the label from the diverse set of labels being

attached to each occurrence of the nucleic acid target molecules from each single cell to generate

a set of labeled nucleic acid target molecules comprising all or a portion of the complementary

sequence of a nucleic acid target molecule and a diverse label, including through stochastic

attachment of diverse labels and/or by multiplexing to allow simultaneous quantitation of

multiple molecules, and the other limitations (alone or in combination) of the independent and

dependent claims, including as described above and below.

               228.    Skilled artisans would further understand that quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

was not well-understood, routine, or conventional at the time of the invention. They would

further understand that the systems recited in the claims of the ’659 patent, including the

limitations recited above and below, comprising reaction vessels for attaching diverse labels to


                                                108
nucleic acid target molecules from a single cell, were not well-understood, routine, or

conventional at the time of the invention and are integral to addressing the problems in the prior

art remedied by the improved functionality of the claimed inventions and inventive concepts.

They would further understand that the claims of the ’659 patent recite concrete and tangible

systems that amount to significantly more than a mere label, as they are designed for quantitation

of the abundance of genetic material in a sample through the generation of a set of labeled

nucleic acid target molecules by attaching diverse labels to nucleic acid target molecules,

including through stochastic attachment of diverse labels and/or by multiplexing to allow

simultaneous quantitation of multiple nucleic acid target molecules. They would further

understand that the specific structures recited in the claims of the ’659 patent, including a

number of nucleic acid target molecules, a single cell, a diverse set of labels, wherein the number

of diverse labels is at least greater than the number of nucleic acid target molecules, a plurality of

reaction vessels for attaching a label from the diverse set of labels to each occurrence of the

nucleic acid target molecules from each single cell, a newly-generated set of labeled nucleic acid

target molecules, wherein the individual labeled nucleic acid target molecules comprise all or a

portion of the complementary sequence of a nucleic acid target molecule and a label from the

diverse set of labels, including through stochastic attachment of diverse labels and/or by

multiplexing to allow simultaneous quantitation of multiple molecules, and processing software

are essential to addressing the problems remedied by the improved functionality of the claimed

inventions. See also supra ¶ 227.

               229.    They would further understand that the additional limitations (alone or in

combination) of at least dependent claims 4-11, 16, 18, and 19 are not directed to an abstract idea

and recite inventive concepts for additional reasons, including that they recite additional




                                                 109
structure; are not routine, conventional, or well-known; improve upon prior art methods by

providing increased functionality; and do not risk preemption as a result of the additional

limitations in those claims.

               230.    They would further understand that claim 6 of the ’358 patent is not

substantially similar to nor linked to any abstract idea, much less the same abstract idea as all

claims of the ’659 patent, including because the claims of the ’659 patent recite additional,

tangible structures and manipulations, provide further improvements and innovations, address

additional technological problems, add one or more inventive concepts, and involve different

facts relating to issues of preemption and patentability that are not reflected in claim 6 of the

’358 patent, and because claim 6 of the ’358 patent recites a method while the ’659 patent recites

systems. See also supra at ¶¶ 227-29.

               231.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’659 patent, including at least claim 1 of the ’659 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               232.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ‘659 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’659 patent claims,




                                                 110
including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               233.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products are “a system for counting n, wherein n is a number of nucleic acid target molecules

that are present in a single cell from a sample comprising cells” as recited in claim 1, because

“[t]he 10x™ GemCode™ Technology samples a pool of ~ 750000 barcodes to separately index

each cell’s transcriptome . . . by partitioning thousands of cells into nanoliter-scale Gel Bead-In-

EMulsions (GEMs).” 136 As illustrated below,137 “the cells are delivered at a limiting dilution,

such that the majority (~90-99%) of generated GEMs contains no cell, while the remainder

largely contain a single cell.”




               234.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products are for “counting n, wherein n is a number of nucleic acid target molecules” because

the “Cell Ranger™” analysis software performs “demultiplexing, alignment, and gene

counting”138 and because the information generated with the Cell Ranger software is used for

“cell clustering, cell type classification, and differential gene expression at a scale of hundreds to

136
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
137
138
    Id.
    Id.

                                                 111
millions of cells.”139 “Cell Ranger is a set of analysis pipelines [that perform gene expression

analysis by] alignment, filtering, barcode counting, and UMI counting,”140 which is “counting n,

wherein n is a number of nucleic acid target molecules system produces.”

               235.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products comprise “a diverse set of labels, wherein the set comprises m different labels” because

“Gel Beads are… functionalized with millions of copies of a 10x Barcoded primer.”141 As

illustrated below142, the system comprises “~ 750000 barcodes to separately index each cell’s

transcriptome.” 143 As shown below144, the “diverse set of labels, wherein the set comprises m

different labels” in the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products is the “10nt Unique Molecular Identifier.”




139
140
    Id.
    https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger
141
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
142
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
143
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
144
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                112
               236.    In the Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products, “the ratio of m to n is greater than 5” as recited in step (a) because “[t]he 10x™

GemCode™ Technology… samples a pool of ~ 750000 barcodes to separately index each cell’s

transcriptome” 145 and because the “number of nucleic acid target molecules that are present in a

single cell” is less than 150000. For example, single cell analysis shows “~4,500 genes and

27,000 transcripts […] detected” in human and mouse cells.146

               237.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products comprise “a plurality of reaction vessels for attaching a label from the diverse set of

labels to each occurrence of the nucleic acid target molecules from each single cell from said

sample comprising cells” as recited in step (b) of claim 1 because “[t]he 10x™ GemCode™

Technology… partition[s] thousands of cells into nanoliter-scale Gel Bead-In-EMulsions

(GEMs),”147 and because “[o]nce partitioned, the Gel Bead dissolves and its oligo primers are




145
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide”: CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf
146
    “Chromium™ Single Cell Solutions 10x Single Cell App Note”
(10x_Single_Cell_App_Note.pdf)
147
    Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                113
released into the aqueous environment of the GEM” 148 and because “[t]he contents of the GEM

[…] are incubated in a reverse transcription (RT) reaction to generate full-length, barcoded

cDNA from poly-adenylated mRNA.”149

               238.    The Single Cell 3’ Workflow Accused Products comprise “a plurality of

reaction vessels for attaching a label from the diverse set of labels to each occurrence of the

nucleic acid target molecules from each single cell from said sample comprising cells to generate

a set of labeled nucleic acid target molecules” as recited in step (b) of claim 1 because a “reverse

transcription reaction is primed by the barcoded Gel Bead oligo.”150 As illustrated below151, the

“labels” are attached to “nucleic acid target molecules from each single cell” and thereby

generate the “set of labeled nucleic acid target molecules” by an extension reaction, which

“comprise all or a portion of the complementary sequence of a nucleic acid target molecule and a

label from the diverse set of labels” as recited in step (b) of claim 1.




148
    TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
149
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); see also “TECHNICAL NOTE Assay
Scheme and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.docx)
150
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
151
             (CG000108_AssayConfiguration_SC3v2.pdf)
    Id. at Figure 3 (cropped, markings added)

                                                 114
               239.    The Single Cell 5’ Workflow Accused Products comprise “a plurality of

reaction vessels for attaching a label from the diverse set of labels to each occurrence of the

nucleic acid target molecules from each single cell from said sample comprising cells to generate

a set of labeled nucleic acid target molecules” as recited in step (a) of claim 1 because “[t]he

contents of the GEM […] are incubated in a reverse transcription (RT) reaction to generate full-

length, barcoded cDNA from poly-adenylated mRNA.”152 As illustrated below153, the “labels”

hybridize to a reverse transcription product of the “nucleic acid target molecules.” The “set of

labeled nucleic acid target molecules” are generated upon a “template switch” step, each of

which “comprise all or a portion of the complementary sequence of a nucleic acid target

molecule and a label from the diverse set of labels” as recited in step (b) of claim 1.

152
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
153
             (CG000109_AssayConfiguration_VDJ_RevD.pdf)
    Id. at Figure 3 (cropped, markings added)

                                                115
               240.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products comprise “processing software for counting n from a number of labeled nucleic acid

target molecules detected” as recited in step (c) of claim 1 because “the 10x Barcodes are used to

associate individual reads back to the individual partitions154 using “Cell Ranger™” analysis

software to perform “demultiplexing, alignment, and gene counting.”155 The information


154
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
155
    Id.

                                               116
generated with the Cell Ranger software is used for “cell clustering, cell type classification, and

differential gene expression at a scale of hundreds to millions of cells.”156

               241.    As demonstrated in Exhibit 26, the Single Cell 3’ Workflow Accused

Products satisfy the claim limitations of at least claims 1, 4, 6-11, 13, 16, 18, and 19 of the ’659

patent. As demonstrated in Exhibit 27, the Single Cell 5’ Workflow Accused Products satisfy

the claim limitations of at least claims 1, 4, 6-11, 13, 16, 18, and 19 of the ’659 patent. As

demonstrated in Exhibit 28, the Spatial Transcriptomics Accused Products satisfy the claim

limitations of at least claims 1 and 4-6 of the ’659 patent. The demonstration of infringement

illustrated in Exhibits 26, 27, and 28 is offered by way of example only and without limitation

to BD’s ability to demonstrate Defendant’s direct, indirect, literal, or equivalent infringement of

additional ’659 patent claims, including by making, using, selling, offering for sale, or importing

additional products or inducing or contributing to such acts.

               242.    10X has also induced and currently induces infringement of at least claim

1 of the ’659 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 1 of the ’659 patent.157 10X has known of the ’659

patent and of its infringement of that patent since at least May 2017. By providing its customers

with the Accused Products and those directions for use, 10X specifically intends that its

customers infringe the ’659 patent.

               243.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’659 patent. 10X has designed the Accused


156
  Id.
157
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 117
Products specifically to be used in a manner as claimed at least claim 1 of the ’659 patent.158 As

such, the Accused Products are a material component of the patented combination, specifically

designed to be used according to at least claim 1 of the ’659 patent, and especially made and

adapted for use in a manner that infringes at least claim 1 of the ’659 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 1 of the ’659 patent. 10X has knowledge of the ’659 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’659

patent.

               244.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’659 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’659 patent.

               245.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                     COUNT 7
                         (INFRINGEMENT OF THE ’502 PATENT)

               246.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.


158
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                118
               247.    U.S. Patent No. 9,845,502 (the “’502 patent”), entitled “Digital Counting

of Individual Molecules by Stochastic Attachment of Diverse Labels,” was duly and legally

issued on December 19, 2017 to inventors Stephen P. A. Fodor and Glenn K. Fu. A true and

accurate copy of the ’502 patent is attached as Exhibit 7.

               248.    Skilled artisans would understand that, prior to the inventions of the ’502

patent, numerous problems existed in the prior art relating to quantitation of the abundance of

molecules, e.g., nucleic acids, in a sample. Analytical methods for measuring the abundance of

different molecules in a sample (e.g., nucleic acids) existed, but were generally comparative

techniques and were limited by signal to noise issues. Prior art techniques offered limited utility

in cases where samples comprised a large number of different molecules or where the number of

molecules of interest was low in comparison to the number of background molecules. See, e.g.,

’502 patent at 3:57-61; 4:5-8; 4:15-25; 4:30-34. Other drawbacks and limitations in prior art

methods included, for example:

          A requirement for one-to-one correspondence between probe sequences and
           oligonucleotide tag sequences in techniques where oligonucleotide tags are
           hybridized to their complements;

          A requirement for customizing dilutions for each type of molecule in digital methods,
           which generally limited the practice to analysis of a small number of different
           molecules and required physical separation of molecules;

          An inability to ensure that all sequences are captured in microarray and sequencing
           based technologies;

          A limited ability to correlate intensity of hybridization signal (or signal intensity) to
           the concentration of target molecules in hybridization-based methods;

          Variability relating to probe hybridization differences and cross-reactivity;

          Limitations on the ability to stochastically attach labels to known targets, in a known
           location, in the context of sequencing and amplification-based methodologies; and

          Dynamic range limitations in array-based methods.



                                                119
See, e.g., id. at 3:5-13; 3:43-4:21; 4:30-34; 14:35-39; 19:38-47; 22:28-31; 22:50-57; 23:2-6;

23:54-58; 24:15-29; 32:45-55; 33:15-33.

               249.    Skilled artisans would understand that the inventions as recited in the

common specifications of the Fodor patents are generally directed to quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules.

See, e.g., ’502 patent at 4:38-5:6 (“High-sensitivity single molecule digital counting by the

stochastic labeling of a collection of identical molecules is disclosed. Each copy of a molecule

randomly chooses from a non-depleting reservoir of diverse labels. . . . The labeled fragments for

a target molecule of choice are detected with high specificity using a microarray readout system,

and with DNA sequencing. The results are consistent with a stochastic process, and yield highly

precise relative and absolute counting statistics of selected molecules within a vast background

of other molecules. . . . The attachment of the label confers a separate, determinable identity to

each occurrence of targets that may otherwise be indistinguishable.”). The claimed inventions of

the ’502 patent are directed in general to a method for determining a number of occurrences of a

target molecule from a single cell, the method comprising steps of generating an indexed library

comprising a plurality of target-label-tag molecules by performing a labeling step that combines

target molecules with diverse label-tags, wherein the ratio of the number of diverse label-tags to

the number of target molecules is greater than 5, to thereby generate target-label-tag molecules

via hybridization and an extension reaction, amplifying the plurality of target-label-tag molecules

to generate amplified products, and sequencing at least a portion of the plurality of amplified

products. More specifically, skilled artisans would understand that the asserted independent




                                                120
claim of the ’502 patent is directed to specific implementations of the inventions of the Fodor

patents, reciting “generating an indexed library by performing a labeling step” comprising

“combining each of a target molecule from a plurality of target molecules from a single cell with

a label-tag from a plurality of diverse label-tags, wherein the ratio of the number of the plurality

of diverse label-tags to the number of each of the plurality of target molecules is greater than 5”

and “generating the indexed library comprising a plurality of target-label-tag molecules by

hybridizing the label-tag of the plurality of diverse label-tags to the target molecule of the

plurality of target molecules and performing an extension reaction, wherein a target-label-tag

molecule comprises the label-tag and a portion of a complementary sequence of the target

molecule,” “amplifying the plurality of target-label-tag molecules from the indexed library to

generate a plurality of amplified products,” and “sequencing at least a portion of the plurality of

amplified products . . . to determine a number of different label-tag sequences associated with the

portion of the complementary sequence of the target molecule from the single cell” (’502 patent,

cl. 1). They would further understand that asserted dependent claims are directed to further

specific implementations of the methods recited in the independent claims, including “wherein

the method is multiplexed” (’502 patent, cl. 3) and “wherein the attaching is stochastic” (’502

patent, cl. 24).

                   250.   Skilled artisans would further understand that (1) quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

is not an abstract idea but rather a concrete and tangible method for manipulating molecules and

generating new molecules that provide an improved method of quantitation; (2) the specific




                                                   121
implementations of the inventions of the Fodor patents recited in the claims of the ’502 patent

are not directed to an abstract idea, nor are the claims directed merely to labeling different

molecules or objects with different labels or all implementations thereof; (3) labeling nucleic

acids with different labels is not an abstract idea; (4) the claims do not describe concepts long-

practiced in society but rather claim novel and innovative methods used for quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

that improved upon prior art methods; and (5) the claims do not merely limit an abstract idea to a

specific technological environment, e.g., DNA and nucleic acids.

               251.    Skilled artisans would further understand that the inventions claimed in

the ’502 patent provide numerous improvements and benefits over prior art methods. In addition

to addressing the aforementioned drawbacks and limitations of the prior art, the inventions of the

’502 patent also:

          Confer a separate, determinable identity to occurrences of targets that may otherwise
           be indistinguishable as a result of the diverse labels or label-tags in the newly-
           generated molecule;

          Allow simultaneous quantitation of multiple target sequences;

          Take quantitative measurements of copies of identical target molecules in a solution
           by transformation of the information into a digital process for detecting the presence
           of different or diverse labels or label-tags that are attached to the identical target
           molecules in a manner that is extremely sensitive and can be multiplexed to high
           levels;

          Allow newly-generated molecules comprising targets and diverse labels or label-tags
           to be amplified freely without impacting quantitation of the targets; and

          Convert an analog readout of hybridization signal intensities on arrays into a
           measurable process that can be scored digitally on the arrays by leveraging the
           diverse label-tags found in each newly-generated molecule, providing a clear cost-
           advantage over existing techniques.


                                                122
See, e.g., ’502 patent at 4:38-40; 4:50-64; 5:4-6; 5:10-14; 14:35-39; 21:22-24; 22:50-57; 22:60-

63; 23:2-6; 23:9-16; 23:54-58; 25:21-24; 31:50-51; 32:33-36; 33:4-14. Skilled artisans would

understand that these benefits inure from the claimed inventions and inventive concepts (alone or

in combination with the other limitations), including the diverse label-tags being attached to

target molecules from a single cell, wherein the ratio of the number of the plurality of diverse

label-tags to the number of each of the plurality of target molecules is greater than 5, to generate

new target-label-tag molecules comprising label-tags and a portion of a complementary sequence

of the target molecules, including through stochastic attachment of diverse labels and/or by

multiplexing to allow simultaneous quantitation of multiple molecules, the amplification of the

target-label-tag molecules, and the other limitations (alone or in combination) of the independent

and dependent claims, including as described above and below.

               252.    Skilled artisans would further understand that quantitation of the

abundance of molecules, e.g., nucleic acids, in a sample through the generation of new molecules

by attaching diverse labels to target molecules, including through stochastic attachment of

diverse labels and/or by multiplexing to allow simultaneous quantitation of multiple molecules,

was not well-understood, routine, or conventional at the time of the invention. They would

further understand that the steps recited in the claims of the ’502 patent, either alone or in

combination and including those recited above and below, were not well-understood, routine, or

conventional at the time of the invention and are integral to addressing the problems in the prior

art remedied by the improved functionality of the claimed inventions and inventive concepts.

They would further understand that the specific structures and manipulations recited in the

claims of the ’502 patent, including a plurality of target molecules, a single cell, an indexed

library, a plurality of diverse label-tags, wherein the ratio of the number of the plurality of




                                                 123
diverse label-tags to the number of each of the plurality of target molecules is greater than 5, a

complementary sequence of the target molecule, a plurality of amplified products, sequencing at

least a portion of the plurality of amplified products, and a plurality of new target-label-tag

molecules, generated by hybridizing diverse labels to target molecules, including through

stochastic attachment of diverse labels and/or by multiplexing to allow simultaneous quantitation

of multiple molecules, are essential to addressing the problems remedied by the improved

functionality of the claimed inventions. See also supra ¶ 251.

               253.    They would further understand that the additional limitations (alone or in

combination) of at least dependent claims 2-4, 6-12, 14-18, 21, 22, 24-28, and 30 are not directed

to an abstract idea and recite inventive concepts for additional reasons, including that they recite

additional structure; are not routine, conventional, or well-known; improve upon prior art

methods by providing increased functionality; and do not risk preemption as a result of the

additional limitations in those claims.

               254.    They would further understand that claim 6 of the ’358 patent is not

substantially similar to nor linked to any abstract idea, much less the same abstract idea as all

claims of the ’502 patent, including because the claims of the ’502 patent recite additional,

tangible structures and manipulations, provide further improvements and innovations, address

additional technological problems, add one or more inventive concepts, and involve different

facts relating to issues of preemption and patentability that are not reflected in claim 6 of the

’358 patent. See also supra at ¶¶ 251-53.

               255.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’502 patent, including at least claim 1 of the ’502 patent




                                                 124
directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               256.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ‘502 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’502 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               257.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products are “a method for determining a number of occurrences of a target molecule from a

single cell” as recited in claim 1, because the “Cell Ranger™” analysis software performs

“demultiplexing, alignment, and gene counting”159 and the information generated with the Cell

Ranger™ 160 software is used for “cell clustering, cell type classification, and differential gene

expression at a scale of hundreds to millions of cells.”161 Cell Ranger™ is a set of analysis

pipelines [that perform gene expression analysis by] alignment, filtering, barcode counting, and

UMI counting,” which is “determining a number of occurrences of a target molecule from a

single cell.”162 “The 10x™ GemCode™ Technology partition[s] thousands of cells” with the




159
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
160
161
    Id.
162
    Id.
    https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger

                                                 125
10x Barcoded Gel Beads “into nanoliter-scale Gel Bead-In-EMulsions (GEMs).”163 As

illustrated below164, “the cells are delivered at a limiting dilution, such that the majority (~90-

99%) of generated GEMs contains no cell, while the remainder largely contain a single cell.”165




               258.    In the Single Cell 3’ Workflow Accused Products “generating an indexed

library by performing a labeling step, the label step comprising (i) combining each of a target

molecule from a plurality of target molecules from a single cell with a label-tag from a plurality

of diverse label-tags” as recited in step (a) and substep (a)(i) of claim 1 occurs because a “[t]he

contents of the GEM (oligos, lysed cell components and Master Mix) are incubated in an RT

reaction to generate full-length, barcoded cDNA from the poly A-tailed mRNA transcripts.”166

In the Single Cell 3’ Workflow Accused Products, “the ratio of the number of the plurality of

diverse label-tags to the number of each of the plurality of target molecules is greater than 5” as

recited in step (a) and substep (a)(i) of claim 1 because “[t]he 10x™ GemCode™ Technology…

samples a pool of ~ 750000 barcodes to separately index each cell’s transcriptome” 167 and

163
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
164
165
    Id.
166
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
167
           (CG000108_AssayConfiguration_SC3v2.pdf)
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                 126
because the “number of each of the plurality of target molecules” is less than 150000. For

example, single cell analysis shows “~4,500 genes and 27,000 transcripts […] detected” in

human and mouse cells.168

                259.    In the Single Cell 3’ Workflow Accused Products, “generating the

indexed library comprising a plurality of target-label-tag molecules by hybridizing the label-tag

of the plurality of diverse label-tags to the target molecule of the plurality of target molecules

and performing an extension reaction” as recited in claim 1 step (a) substep (ii) occurs because a

“reverse transcription reaction is primed by the barcoded Gel Bead oligo.”169 As illustrated

below170, the “label-tag of the plurality of diverse label tags” hybridize to “the target molecule of

the plurality of target molecules” and thereby generate the “target-label-tag molecules” by an

extension reaction. Further, as illustrated below171, the resulting “target-label-tag molecules”

comprise “the label-tag and a portion of a complementary sequence of the target molecule” as

recited in substep (ii) of step (a).




168
    Chromium™ Single Cell Solutions 10x Single Cell App Note
(10x_Single_Cell_App_Note.pdf)
169
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
170
             (CG000108_AssayConfiguration_SC3v2.pdf)
171
    Id. at Figure 3 (cropped, markings added)
    Id.

                                                 127
               260.    In the Single Cell 5’ Workflow Accused Products, “generating an

indexed library by performing a labeling step, the label step comprising combining each of a

target molecule from a plurality of target molecules from a single cell with a label-tag from a

plurality of diverse label-tags” as recited in step (a) and substep (a)(i) of claim 1 because “[t]he

contents of the GEM […] are incubated in a reverse transcription (RT) reaction to generate full-

length, barcoded cDNA from poly-adenylated mRNA.”172 In the Single Cell 5’ Workflow

Accused Products, “the ratio of the number of the plurality of diverse label-tags to the number of

each of the plurality of target molecules is greater than 5” as recited in step (a) and substep (a)(i)

of claim 1 because “[t]he 10x™ GemCode™ Technology… samples a pool of ~ 750000




172
   “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                 128
barcodes to separately index each cell’s transcriptome” 173 and because the “number of each of

the plurality of target molecules” is less than 150000. For example, single cell analysis shows

“~4,500 genes and 27,000 transcripts […] detected” in human and mouse cells.174

               261.    In the Single Cell 5’ Workflow Accused Products, “generating the

indexed library comprising a plurality of target-label-tag molecules by hybridizing the label-tag

of the plurality of diverse label-tags to the target molecule of the plurality of target molecules

and performing an extension reaction” as recited in claim 1 step (a) substep (ii) occurs because

“[t]he contents of the GEM […] are incubated in a reverse transcription (RT) reaction to generate

full-length, barcoded cDNA from poly-adenylated mRNA.”175 As illustrated below176, the

“label-tag of the plurality of diverse label tags” hybridize to a reverse transcription product

which is the “target molecule.”




173
    “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
174
    Chromium™ Single Cell Solutions 10x Single Cell App Note
(10x_Single_Cell_App_Note.pdf)
175
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
176
             (CG000109_AssayConfiguration_VDJ_RevD.pdf)
    Id. at Figure 3 (cropped, markings added)

                                                 129
               262.    On information and belief, the RNA molecule will dissociate from DNA

prior to the PCR amplification step to form the structure illustrated below:177




               263.    In the next step of the Single Cell 5’ Workflow Accused Products, PCR

amplification is performed by “Direct Target Enrichment” or “cDNA Amplification followed by

Target Enrichment.”178 On information and belief, as illustrated with the arrow below,

performing either of the PCR extension step will result in “performing an extension reaction,

wherein a target-label-tag molecule comprises the label-tag and a portion of a complementary


177
    This is illustration is a modification of the figure in the 10x materials adapted to demonstrate
the hybrid arising due to dissociation of RNA form the hybrid in the last step of the figure in the
preceding paragraph.
178
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                130
sequence of the target molecule.” As is illustrated below, the extension products generated in this

step are a “a target-label-tag molecule [comprising] the label-tag and a portion of a

complementary sequence of the target molecule.”




               264.    The Single Cell 3’ Workflow Accused Products comprise a step of

“amplifying the plurality of target-label-tag molecules from the indexed library to generate a

plurality of amplified products” as recited in step (b) of claim 1 because “[t]he GEMs are then

‘broken’, pooling single-stranded, barcoded cDNA molecules from every cell” and “[a] bulk

PCR-amplification and Enzymatic Fragmentation” follows.179 As illustrated below180, this PCR

step results in amplification of the target-label-tag molecules.




               265.    In the Single Cell 5’ Workflow Accused Products, the “amplifying the

plurality of target-label-tag molecules from the indexed library to generate a plurality of

amplified products” recited in step (b) of claim 1 occurs because “[t]he Single Cell V(D)J

Solution offers the option to generate” by PCR amplification, “Direct Target Enrichment” or

179
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
180
             (CG000108_AssayConfiguration_SC3v2.pdf)
    Id. at Figure 3 (cropped, markings added)

                                                131
“cDNA Amplification followed by Target Enrichment.”181 As illustrated below182, the PCR step

in “Direct Target Enrichment” option results in amplification of the target-label-tag molecules.




               266.   As illustrated below183, the PCR step in “cDNA Amplification followed

by Target Enrichment” option also results in amplification of the target-label-tag molecules.




               267.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products comprise a step of “sequencing at least a portion of the plurality of amplified products

of step (b) to determine a number of different label-tag sequences associated with the portion of

the complementary sequence of the target molecule from the single cell” as recited in step (c) of

claim 1 because “[d]uring library preparation, sequence components essential for Illumina




181
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
182
             (CG000109_AssayConfiguration_VDJ_RevD.pdf)
183
    Id. at Figure 3 (cropped, markings added)
    Id. at Figure 4 (cropped, markings added)

                                               132
sequencing and downstream data analysis are incorporated into the final library construct,”184

and because the Single Cell 3’ and Single Cell 5’ Workflows produce “Illumina-ready

sequencing libraries” and the libraries “generated and sequenced from the cDNA and the 10x

Barcodes are used to associate individual reads back to the individual partitions.”185

               268.    Further, sequencing in the Single Cell 3’ Workflow and Single Cell 5’

Workflow Accused Products produces a result “wherein the number of different label-tag

sequences indicates the number of occurrences of the target molecule from the single cell”

because once these libraries are “generated and sequenced,” “the 10x Barcodes are used to

associate individual reads back to the individual partitions.”186 Correlation between the “the

number of different label-tag sequences” and “the number of occurrences of the target molecule

from the single cell” as recited in step (c) occurs because the amplified products of step (b) of

claim 1 are processed with “Cell Ranger™” analysis software to perform “demultiplexing,

alignment, and gene counting.”187 The information generated with the Cell Ranger software can

be used for “cell clustering, cell type classification, and differential gene expression at a scale of

hundreds to millions of cells.”188 “Cell Ranger™ is a set of analysis pipelines [that perform gene

expression analysis by] alignment, filtering, barcode counting, and UMI counting,”189 which is a

sub-element “wherein the number of different label-tag sequences indicates the number of

occurrences of the target molecule from the single cell.”



184
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
185
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
186
187
    Id.
188
    Id.
189
    Id.
    https://support.10xgenomics.com/single-cell-gene-expression/software/pipelines/latest/what-
is-cell-ranger

                                                 133
               269.    As demonstrated in Exhibit 29, the Single Cell 3’ Workflow Accused

Products satisfy the claim limitations of at least claims 1-4, 7-12, 14-18, 21, 22, 24-28, and 30 of

the ’502 patent. As demonstrated in Exhibit 30, the Single Cell 5’ Workflow Accused Products

satisfy the claim limitations of at least claims 1-4, 6, 9-12, 14-17, 21-22, 24-28, and 30 of the

’502 patent. As demonstrated in Exhibit 31, the Spatial Transcriptomics Accused Products

satisfy the claim limitations of at least claims 1-4, 7-12, 15-18, 21, 22, 24-28, and 30 of the ’502

patent. The demonstration of infringement illustrated in Exhibits 29, 30 and 31 is offered by

way of example only and without limitation to BD’s ability to demonstrate Defendant’s direct,

indirect, literal, or equivalent infringement of additional ’502 patent claims, including by

making, using, selling, offering for sale, or importing additional products or inducing or

contributing to such acts.

               270.    10X has also induced and currently induces infringement of at least claim

1 of the ’502 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 1 of the ’502 patent.190 10X has known of the ’502

patent and of its infringement of that patent since at least May 2017. By providing its customers

with the Accused Products and those directions for use, 10X specifically intends that its

customers infringe the ’502 patent.

               271.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’502 patent. 10X has designed the Accused




190
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                134
Products specifically to be used in a manner as claimed at least claim 1 of the ’502 patent.191 As

such, the Accused Products are a material component of the patented combination, specifically

designed to be used according to at least claim 1 of the ’502 patent, and especially made and

adapted for use in a manner that infringes at least claim 1 of the ’502 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 1 of the ’502 patent. 10X has knowledge of the ’502 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’502

patent.

               272.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’502 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’502 patent.

               273.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                     COUNT 8
                         (INFRINGEMENT OF THE ’645 PATENT)

               274.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.


191
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                135
               275.    U.S. Patent No. 9,567,645 (the “’645 patent”), entitled “Massively Parallel

Single Cell Analysis,” was duly and legally issued on February 14, 2017 to inventors Christina

Fan, Stephen P.A. Fodor, Glenn Fu, Geoffrey Richard Facer, and Julie Wilhelmy. A true and

accurate copy of the ’645 patent is attached as Exhibit 8.

               276.    The invention of the ’645 patent is directed in general to methods for

associating a single cell with a single bead, the single bead comprising a plurality of

oligonucleotides (i.e., at least 100 oligonucleotides) comprising an identical cellular label

sequence, a target-binding region, and different molecular label sequences.

               277.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’645 patent, including at least claim 1 of the ’645 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               278.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ’645 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’645 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               279.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “associating a single bead with a single cell” limitation of claim 1 of the ’645




                                                 136
patent because “[t]he 10x™ GemCode™ Technology partition[s] thousands of cells” with the

10x Barcoded Gel Beads “into nanoliter-scale Gel Bead-In-EMulsions (GEMs).” 192 As

illustrated below, “the cells are delivered at a limiting dilution, such that the majority (~90-99%)

of generated GEMs contains no cell, while the remainder largely contain a single cell.”193




               280.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “wherein said single bead comprises a plurality of oligonucleotides,”

limitation of claim 1 of the ’645 patent because the “Gel Beads are . . . functionalized with

millions of copies of a 10x Barcoded primer.” 194 The “10x Barcoded primer” is an

oligonucleotide (“[e]ach Gel Bead contains millions of oligo primers that are comprised of the

following sequences (Figure 1).”195). The oligonucleotides of the Gel Beads for the Single Cell

3’ Workflow and Single Cell 5’ Workflow Accused Products are shown in the Figures

below196:




192
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
193
194
    Id.
195
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
196
    Id.

                                                137
               281.    The Single Cell 3’ Workflow Accused Products meet the “wherein each

of said plurality of oligonucleotides comprises an identical cellular label sequence, a molecular

label sequence, and a target-binding region,” limitation of claim 1 of the ’645 patent because

each oligonucleotide of each bead comprises a “16nt 10x™ Barcode,” (shown in green in Fig. 1

and below197) which is a cellular label sequence,198 a “10nt Unique Molecular Identifier (UMI),”

(shown in red in Fig. 1 and below) which is a molecular label sequence, and a “30nt Poly(dT)

primer sequence,” (shown in blue in Fig. 1 and below) which is a target-binding region.199 The

“16nt 10x™ Barcode,” is an identical cellular label sequence because “[t]he 10x™ GemCode™

Technology . . . separately index[es] each cell’s transcriptome. It does so by partitioning
197
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 4 (cropped)
198
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
199
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)

                                                138
thousands of cells into nanoliter-scale Gel Bead-In-EMulsions (GEMs), where all generated

cDNA share a common 10x Barcode.”200 Thus, each oligonucleotide on a particular bead has the

same “16nt 10x™ Barcode.”




              282.    As shown below201, the “30nt Poly(dT) primer sequence” is a target-

binding region that binds the poly(A) sequence at the 3’ ends of RNA molecules.202




200
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
201
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
202
           (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)

                                             139
               283.   The Single Cell 5’ Workflow Accused Products meet the “wherein each

of said plurality of oligonucleotides comprises an identical cellular label sequence, a molecular

label sequence, and a target-binding region,” limitation of claim 1 of the ’645 patent because

each oligonucleotide of the bead comprises a “16nt 10x™ Barcode,” (shown in bright green in

Figure 1 and below203) which is a cellular label sequence,204 a “10nt Unique Molecular Identifier

(UMI),” (shown in red in Figure 1 and below) which is a molecular label sequence, and a “13nt

Switch Oligo,” (shown in dark green in Figure 1 and below) which is a target-binding region.205

The “16nt 10x™ Barcode,” is an identical cellular label sequence because “[t]he 10x™

GemCode™ Technology . . . separately index[es] each cell’s transcriptome. It does so by

partitioning thousands of cells into nanoliter-scale Gel Bead-In-EMulsions (GEMs), where all

generated cDNA share a common 10x Barcode.”206 Thus, each oligonucleotide on a particular

bead has the same “16nt 10x™ Barcode.”




               284.   As shown below207, the “13nt Switch Oligo” is a target-binding region that

binds the “CCC” sequence at the ’3 ends of a cDNA molecule.208

203
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Table 1 (cropped)
204
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
205
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)
206
    “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
207
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
208
            (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                               140
               285.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “wherein at least 100 of said plurality of oligonucleotides comprise different

molecular label sequences” limitation of claim 1 of the ’645 patent because “[t]he 10x™

GemCode™ Technology samples a pool of ~ 750000 barcodes to separately index each cell’s

transcriptome”209 according to a method wherein “[e]ach Gel Bead contains millions of oligo

primers.”210




209
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide” (CG00052-
SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J Reagent
Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
210
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                               141
               286.   10X has also induced and currently induces infringement of at least claim

1 of the ’645 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 1 of the ’645 patent.211 10X has known of the ’645

patent and of its infringement of that patent since at least May 2017. By providing its customers

with the Accused Products and those directions for use, 10X specifically intends that its

customers infringe the ’645 patent.

               287.   10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’645 patent. 10X has designed the Accused

Products specifically to be used in a manner as claimed at least claim 1 of the ’645 patent.212 As

such, the Accused Products are a material component of the patented combination, specifically

designed to be used according to at least claim 1 of the ’645 patent, and especially made and

adapted for use in a manner that infringes at least claim 1 of the ’645 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 1 of the ’645 patent. 10X has knowledge of the ’645 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’645

patent.

               288.   Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’645 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’645 patent.

211
    See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
212
    See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                               142
               289.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                      COUNT 9
                          (INFRINGEMENT OF THE ’646 PATENT)

               290.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

               291.    U.S. Patent No. 9,567,646 (the “’646 patent”), entitled “Massively Parallel

Single Cell Analysis,” was duly and legally issued on February 14, 2017 to inventors Christina

Fan, Stephen P.A. Fodor, Glenn Fu, Geoffrey Richard Facer, and Julie Wilhelmy. A true and

accurate copy of the ’646 patent is attached as Exhibit 9.

               292.    The invention of the ’646 patent is directed in general to a single cell and a

single bead, the single bead comprising a plurality of oligonucleotides (i.e., at least 100

oligonucleotides) comprising an identical cellular label sequence, a target-binding region, and

different molecular label sequences.

               293.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’646 patent, including at least claim 1 of the ’646 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,




                                                 143
offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               294.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ’646 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’646 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               295.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “a single cell and a single bead” limitation of claim 1 of the ‘646 patent

because “[t]he 10x™ GemCode™ Technology partition[s] thousands of cells” with the 10x

Barcoded Gel Beads “into nanoliter-scale Gel Bead-In-EMulsions (GEMs).” 213 As illustrated

below, “the cells are delivered at a limiting dilution, such that the majority (~90-99%) of

generated GEMs contains no cell, while the remainder largely contain a single cell.”214




213
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
214
    Id.

                                                144
               296.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “wherein said single bead comprises a plurality of oligonucleotides,”

limitation of claim 1 of the ’646 patent because “Gel Beads are . . . functionalized with millions

of copies of a 10x Barcoded primer.” 215 The “10x Barcoded primer” is an oligonucleotide

(“[e]ach Gel Bead contains millions of oligo primers that are comprised of the following

sequences (Figure 1).”216). The oligonucleotides of the Gel Beads for the Single Cell 3’

Workflow and Single Cell 5’ Workflow Accused Products are shown in the Figures below217:




               297.    The Single Cell 3’ Workflow Accused Products meet the “wherein each

of said plurality of oligonucleotides comprises an identical cellular label sequence, a molecular

215
216
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
217
    Id.

                                                145
label sequence, and a target-binding region,” limitation of claim 1 of the ’646 patent because

each oligonucleotide of the bead comprises a “16nt 10x™ Barcode,” (shown in green in Fig. 1

and below218) which is a cellular label sequence,219 a “10nt Unique Molecular Identifier (UMI),”

(shown in red in Fig. 1 and below) which is a molecular label sequence, and a “30nt Poly(dT)

primer sequence,” (shown in blue in Fig. 1 and below) which is a target-binding region.220 The

“16nt 10x™ Barcode,” is an identical cellular label sequence because “[t]he 10x™ GemCode™

Technology . . . separately index[es] each cell’s transcriptome. It does so by partitioning

thousands of cells into nanoliter-scale Gel Bead-In-EMulsions (GEMs), where all generated

cDNA share a common 10x Barcode.”221 Thus, each oligonucleotide on a particular bead has the

same “16nt 10x™ Barcode.”




               298.    As shown below222, the “30nt Poly(dT) primer sequence” is a target-

binding region that binds the poly(A) sequence at the 3’ ends of RNA molecules.223




218
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 4 (cropped)
219
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
220
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)
221
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
222
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
223
            (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)

                                                146
               299.   The Single Cell 5’ Workflow Accused Products meet the “wherein each

of said plurality of oligonucleotides comprises an identical cellular label sequence, a molecular

label sequence, and a target-binding region,” limitation of claim 1 of the ’646 patent because

each oligonucleotide of the bead comprises a “16nt 10x™ Barcode,” (shown in bright green in

Figure 1 and below224) which is a cellular label sequence,225 a “10nt Unique Molecular Identifier

(UMI),” (shown in red in Figure 1 and below) which is a molecular label sequence, and a “13nt

Switch Oligo,” (shown in dark green in Figure 1 and below) which is a target-binding region.226

The “16nt 10x™ Barcode,” is an identical cellular label sequence because “[t]he 10x™


224
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Table 1 (cropped)
225
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
226
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                               147
GemCode™ Technology . . . separately index[es] each cell’s transcriptome. It does so by

partitioning thousands of cells into nanoliter-scale Gel Bead-In-EMulsions (GEMs), where all

generated cDNA share a common 10x Barcode.”227 Thus, each oligonucleotide on a particular

bead has the same “16nt 10x™ Barcode.”




              300.    As shown below228, the “13nt Switch Oligo” is a target-binding region that

binds the “CCC” sequence at the ’3 ends of a cDNA molecule.229




227
    “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
228
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
229
           (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pd)

                                              148
               301.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “wherein at least 100 of said plurality of oligonucleotides comprise different

molecular label sequences” limitation of claim 1 of the ’646 patent because “[t]he 10x™

GemCode™ Technology samples a pool of ~ 750000 barcodes to separately index each cell’s

transcriptome”230 according to a method wherein “[e]ach Gel Bead contains millions of oligo

primers.”231




230
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
231
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.docx)

                                               149
               302.     10X has also induced and currently induces infringement of at least claim

1 of the ’646 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, induces customers to use a composition that infringes at least claim 1 of the ’646

patent. 10X has known of the ’646 patent and of its infringement of that patent since at least May

2017. By providing its customers with the Accused Products and those directions for use, 10X

specifically intends that its customers infringe the ’646 patent.

                   303. 10X has contributorily infringed and currently contributorily infringes

  under 35 U.S.C. § 271(c) at least claim 1 of the ’646 patent. 10X has designed the Accused

  Products specifically to be used with the composition as claimed at least claim 1 of the ’646

  patent. As such, the Accused Products are a material component of the patented combination,

  specifically designed for use with the composition of at least claim 1 of the ’646 patent, and

  especially made and adapted for use in a manner that infringes at least claim 1 of the ’646

  patent. The Accused Products are not staple articles of commerce and they do not have

  substantial uses that do not infringe at least claim 1 of the ’646 patent. 10X has knowledge of

  the ’646 patent and is aware that the Accused Products are especially made to be used in a

  system that infringes the ’646 patent.

               304.     Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’137 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’646 patent.

               305.     As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive




                                                 150
harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

                                     COUNT 10
                          (INFRINGEMENT OF THE ’736 PATENT)

               306.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

               307.    U.S. Patent No. 9,598,736 (the “’736 patent”), entitled “Massively Parallel

Single Cell Analysis,” was duly and legally issued on March 21, 2017 to inventors Christina Fan,

Stephen P.A. Fodor, Glenn Fu, Geoffrey Richard Facer, and Julie Wilhelmy. A true and

accurate copy of the ’736 patent is attached as Exhibit 10.

               308.    The invention of the ’736 patent is directed in general to a particle

comprising a plurality of oligonucleotides (i.e., at least 100 oligonucleotides) comprising an

identical cellular label sequence, a target-binding region, and different molecular label

sequences.

               309.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’736 patent, including at least claim 16 of the ’736 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.




                                                 151
                 310. As demonstrated below, the Accused Products satisfy the claim limitations

  of at least claim 16 of the ’736 patent. The demonstration of infringement illustrated below is

  offered by way of example only and without limitation to BD’s ability to demonstrate

  Defendant’s direct, indirect, literal, or equivalent infringement of additional ’736 patent claims,

  including by making, using, selling, offering for sale, or importing additional products or

  inducing or contributing to such acts.

               311.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “[a] kit comprising a plurality of particles” limitation of claim 16 of the ’736

patent because the “Chromium™ Single Cell 3’ Reagent Kits” include “Single Cell 3’ Gel

Beads,”232 and the “Chromium™ Single Cell V(D)J Reagent Kits” include “Single Cell 5’ Gel

Beads.”233 The “Single Cell 3’ Gel Beads,” and the “Single Cell 5’ Gel Beads” are a plurality of

particles as shown below234.




               312.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “each [of the plurality of particles] comprising a plurality of oligonucleotides,”


232
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
233
    “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
234
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                152
limitation of claim 16 of the ’736 patent because “Gel Beads are . . . functionalized with millions

of copies of a 10x Barcoded primer.” 235 The “10x Barcoded primer” is an oligonucleotide

(“[e]ach Gel Bead contains millions of oligo primers that are comprised of the following

sequences (Figure 1).”236). The oligonucleotides of the Gel Beads for the Single Cell 3’

Workflow and Single Cell 5’ Workflow Accused Products are shown in the Figures below237:




               313.   The Single Cell 3’ Workflow Accused Products meet the “wherein each

of the plurality of oligonucleotides comprises a cellular label sequence, a molecular label

sequence, and a target-binding region, wherein the cellular label sequence of each of the plurality


235
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
236
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
237
    Id.

                                               153
of oligonucleotides is the same,” limitation of claim 16 of the ’736 patent because each

oligonucleotide of the bead comprises a “16nt 10x™ Barcode,” (shown in green in Fig. 1 and

below238) which is a cellular label sequence,239 a “10nt Unique Molecular Identifier (UMI),”

(shown in red in Fig. 1 and below) which is a molecular label sequence, and a “30nt Poly(dT)

primer sequence,” (shown in blue in Fig. 1 and below) which is a target-binding region.240

               314.    The “16nt 10x™ Barcode,” is a cellular label sequence which is the same

for each of the plurality of oligonucleotides. “The 10x™ GemCode™ Technology . . . separately

index[es] each cell’s transcriptome. It does so by partitioning thousands of cells into nanoliter-

scale Gel Bead-In-EMulsions (GEMs), where all generated cDNA share a common 10x

Barcode.”241 Thus, each oligonucleotide on a particular bead has the same “16nt 10x™

Barcode.”




               315.    As shown below242, the “30nt Poly(dT) primer sequence” is a target-

binding region that binds the poly(A) sequence at the 3’ ends of RNA molecules.243




238
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 4 (cropped)
239
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
240
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)
241
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
242
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
243
            (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)

                                                154
               316.   The Single Cell 5’ Workflow Accused Products meet the “wherein each

of said plurality of oligonucleotides comprises an identical cellular label sequence, a molecular

label sequence, and a target-binding region, wherein the cellular label sequence of each of the

plurality of oligonucleotides is the same,” limitation of claim 16 of the ’736 patent because each

oligonucleotide of the bead comprises a “16nt 10x™ barcode,” (shown in bright green in Figure

1 and below244) which is a cellular label sequence,245 a “10nt Unique Molecular Identifier

(UMI),” (shown in red in Figure 1 and below) which is a molecular label sequence, and a “13nt

Switch Oligo,” (shown in dark green in Figure 1 and below) which is a target-binding region.246


244
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Table 1 (cropped)
245
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
246
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                               155
               317.    The “16nt 10x™ Barcode,” is a cellular label sequence which is the same

for each of the plurality of oligonucleotides. “The 10x™ GemCode™ Technology . . . separately

index[es] each cell’s transcriptome. It does so by partitioning thousands of cells into nanoliter-

scale Gel Bead-In-EMulsions (GEMs), where all generated cDNA share a common 10x

Barcode.”247 Thus, each oligonucleotide on a particular bead has the same “16nt 10x™

Barcode.”




               318.    As shown below248, the “13nt Switch Oligo” is a target-binding region that

binds the “CCC” sequence at the ’3 ends of a cDNA molecule.249




247
    “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
248
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
249
           (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                156
               319.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “at least 100 of the plurality of oligonucleotides comprise different molecular

label sequences” limitation of claim 16 of the ’736 patent because “[t]he 10x™ GemCode™

Technology samples a pool of ~ 750000 barcodes to separately index each cell’s

transcriptome”250 according to a method wherein “[e]ach Gel Bead contains millions of oligo

primers.”251




250
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide”: CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf
251
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                               157
               320.    10X has also induced and currently induces infringement of at least claim

16 of the ’736 patent under 35 U.S.C. § 271(b) by providing to customers an instrument the

Accused Products, along with directions for use that, when followed in an intended manner and

in a normal mode of operation, induces customers to use a kit that infringes at least claim 16 of

the ’736 patent. 10X has known of the ’736 patent and of its infringement of that patent since at

least May 2017. By providing its customers with the Accused Products and those directions for

use, 10X specifically intends that its customers infringe the ’736 patent.

               321.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 16 of the ’736 patent. 10X has designed the Accused

Products specifically to be used with the kit as claimed at least claim 16 of the ’736 patent. As

such, the Accused Products are a material component of the patented combination, specifically

designed for use with the kit of at least claim 16 of the ’736 patent, and especially made and

adapted for use in a manner that infringes at least claim 16 of the ’736 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 16 of the ’736 patent. 10X has knowledge of the ’736 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’736

patent.

               322.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’736 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’736 patent.

               323.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive




                                                158
harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.


                                             COUNT 11

                          (INFRINGEMENT OF THE ’799 PATENT)

               324.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

               325.    U.S. Patent No. 9,637,799 (the “’799 patent”), entitled “Massively Parallel

Single Cell Analysis,” was duly and legally issued on May 2, 2017 to inventors Christina Fan,

Stephen P.A. Fodor, Glenn Fu, Geoffrey Richard Facer, and Julie Wilhelmy. A true and

accurate copy of the ’799 patent is attached as Exhibit 11.

               326.    The invention of the ’799 patent is directed in general to a droplet

comprising a single bead and a single cell, the single bead comprising a plurality of

oligonucleotides (i.e., at least 100 oligonucleotides) comprising an identical cellular label

sequence, an oligo dT sequence, and different molecular label sequences, lysing said single cell

to release nucleic acid targets, and attaching the nucleic acid targets to the oligonucleotides.

               327.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’799 patent, including at least claim 1 of the ’799 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,




                                                 159
offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.

               328.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 1 of the ’799 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’799 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               329.    The Single Cell 3’ Workflow Accused Products meet the “droplet

comprising: a. a single bead” limitation (a) “a single cell” limitation (b) of claim 1 of the ’799

patent because “[t]he 10x™ GemCode™ Technology partition[s] thousands of cells” with the

10x Barcoded Gel Beads “into nanoliter-scale Gel Bead-In-EMulsions (GEMs).” 252 As

illustrated below, “the cells are delivered at a limiting dilution, such that the majority (~90-99%)

of generated GEMs contains no cell, while the remainder largely contain a single cell.”253 The

“nanoliter-scale Gel Bead-In-EMulsions (GEMs) “ is a droplet because it is a “single nanoliter

reaction volume[] partitioned by oil.”254




252
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
253
254
    Id.
    Id.

                                                160
               330.    The Single Cell 3’ Workflow Accused Products meet the “a single bead

comprising a plurality of oligonucleotides,” limitation (a) of claim 1 of the ’799 patent because

the “Gel Beads are . . . functionalized with millions of copies of a 10x Barcoded primer.” 255 The

“10x Barcoded primer” is an oligonucleotide (“[e]ach Gel Bead contains millions of oligo

primers that are comprises of the following sequences (Figure 1).”256). The oligonucleotides of

the Gel Beads for the Single Cell 3’ Workflow Accused Products are shown in Fig. 1 below257:




               331.    The Single Cell 3’ Workflow Accused Products meet the “wherein each

of the plurality of oligonucleotides comprises a molecular label sequence, a cellular label

sequence, and an oligo dT sequence, and wherein the cellular label sequence of each of the

plurality of oligonucleotides is the same” limitation (a) of claim 1 of the ’799 patent because

each oligonucleotide of the bead comprises a “16nt 10x™ Barcode,” (shown in green in Fig. 1

and below258) which is a cellular label sequence,259 a “10nt Unique Molecular Identifier (UMI),”




255
256
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
257
            (CG000108_AssayConfiguration_SC3v2.pdf)
258
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
259
            (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 4 (cropped)
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)

                                                161
(shown in red in Fig. 1 and below) which is a molecular label sequence, and a “30nt Poly(dT)

primer sequence,” (shown in blue in Fig. 1 and below) which is an oligo dT sequence.260

               332.    The “16nt 10x™ Barcode,” is a cellular label sequence which is the same

for each of the plurality of oligonucleotides. “The 10x™ GemCode™ Technology . . . separately

index[es] each cell’s transcriptome. It does so by partitioning thousands of cells into nanoliter-

scale Gel Bead-In-EMulsions (GEMs), where all generated cDNA share a common 10x

Barcode.”261 Thus, each oligonucleotide on a particular bead has the same “16nt 10x™

Barcode.”




               333.    The Single Cell 3’ Workflow Accused Products meet the “at least 100 of

the plurality of oligonucleotides comprise different molecular label sequences” limitation (a) of

claim 1 of the ’799 patent because “[t]he 10x™ GemCode™ Technology samples a pool of ~

750000 barcodes to separately index each cell’s transcriptome”262 according to a method wherein

“[e]ach Gel Bead contains millions of oligo primers.”263

               334.    10X has also induced and currently induces infringement of at least claim

1 of the ’799 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, induces customers to use a composition that infringes at least claim 1 of the ’799


260
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
261
           (CG000108_AssayConfiguration_SC3v2.pdf)
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
262
263
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)

                                                162
patent.264 10X has known of the ’799 patent and of its infringement of that patent since at least

May 2017. By providing its customers with the Accused Products and those directions for use,

10X specifically intends that its customers infringe the ’799 patent.

               335.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 1 of the ’799 patent. 10X has designed the Accused

Products specifically to be used with the composition as claimed at least claim 1 of the ’799

patent. As such, the Accused Products are a material component of the patented combination,

specifically designed for use with the composition of at least claim 1 of the ’799 patent, and

especially made and adapted for use in a manner that infringes at least claim 1 of the ’799 patent.

The Accused Products are not staple articles of commerce and they do not have substantial uses

that do not infringe at least claim 1 of the ’799 patent. 10X has knowledge of the ’799 patent and

is aware that the Accused Products are especially made to be used in a system that infringes the

’799 patent.

               336.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’799 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’799 patent.

               337.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive



264
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

                                                163
relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.


                                             COUNT 12

                          (INFRINGEMENT OF THE ’799 PATENT)

               338.    Plaintiffs incorporate all of the above paragraphs as though fully set forth

herein.

               339.    The ’799 patent, entitled “Massively Parallel Single Cell Analysis,” was

duly and legally issued on May 2, 2017 to inventors Christina Fan, Stephen P.A. Fodor, Glenn

Fu, Geoffrey Richard Facer, and Julie Wilhelmy. A true and accurate copy of the ’799 patent is

attached as Exhibit 11.

               340.    The invention of the ’799 patent is directed in general to methods for

introducing a single cell and a single bead into a droplet, the single bead comprising a plurality

of oligonucleotides (i.e., at least 100 oligonucleotides) comprising an identical cellular label

sequence, a target-binding region, and different molecular label sequences, lysing said single cell

to release nucleic acid targets, and attaching the nucleic acid targets to the oligonucleotides.

               341.    On information and belief, as set forth below, Defendant, directly or

through the actions of its employees, divisions, and/or subsidiaries, has infringed and continues

to infringe one or more claims of the ’799 patent, including at least claim 17 of the ’799 patent

directly, indirectly, literally, and/or by equivalents under 35 U.S.C. et seq, including, but not

limited to § 271 by, among other things, importing the Accused Products and/or making, using,

offering for sale, and selling the Accused Products in the United States or inducing or

contributing to such acts.




                                                 164
               342.    As demonstrated below, the Accused Products satisfy the claim limitations

of at least claim 17 of the ’799 patent. The demonstration of infringement illustrated below is

offered by way of example only and without limitation to BD’s ability to demonstrate

Defendant’s direct, indirect, literal, or equivalent infringement of additional ’799 patent claims,

including by making, using, selling, offering for sale, or importing additional products or

inducing or contributing to such acts.

               343.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “introducing a single cell and a single bead into a droplet” limitation (a) of

claim 17 of the ’799 patent because “[t]he 10x™ GemCode™ Technology partition[s] thousands

of cells” with the 10x Barcoded Gel Beads “into nanoliter-scale Gel Bead-In-EMulsions

(GEMs).” 265 As illustrated below, “the cells are delivered at a limiting dilution, such that the

majority (~90-99%) of generated GEMs contains no cell, while the remainder largely contain a

single cell.”266 The “nanoliter-scale Gel Bead-In-EMulsions (GEMs) “ is a droplet because it is

a “single nanoliter reaction volume[] partitioned by oil.”267




265
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
266
267
    Id.
    Id.

                                                165
               344.    The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “wherein said single bead comprises a plurality of oligonucleotides,”

limitation (a) of claim 17 of the ’799 patent because the “Gel Beads are . . . functionalized with

millions of copies of a 10x Barcoded primer.” 268 The “10x Barcoded primer” is an

oligonucleotide (“[e]ach Gel Bead contains millions of oligo primers that are comprised of the

following sequences (Figure 1).”269). The oligonucleotides of the Gel Beads for the Single Cell

3’ Workflow and Single Cell 5’ Workflow Accused Products are shown in the Figures

below270:




268
269
    Id.
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
270
    Id.

                                                166
               345.    The Single Cell 3’ Workflow Accused Products meet the “wherein each

of the plurality of oligonucleotides comprises a cellular label sequence, a target-binding region,

and a molecular label sequence , and wherein the cellular label sequence of each of the plurality

of oligonucleotides is the same” limitation (a) of claim 17 of the ’799 patent because each

oligonucleotide of the bead comprises a “16nt 10x™ Barcode,” (shown in green in Fig. 1 and

below271) which is a cellular label sequence,272 a “10nt Unique Molecular Identifier (UMI),”

(shown in red in Fig. 1 and below) which is a molecular label sequence, and a “30nt Poly(dT)

primer sequence,” (shown in blue in Fig. 1 and below) which is a target-binding region.273

               346.    The “16nt 10x™ Barcode,” is a cellular label sequence which is the same

for each of the plurality of oligonucleotides. “The 10x™ GemCode™ Technology . . . separately

index[es] each cell’s transcriptome. It does so by partitioning thousands of cells into nanoliter-

scale Gel Bead-In-EMulsions (GEMs), where all generated cDNA share a common 10x

Barcode.”274 Thus, each oligonucleotide on a particular bead has the same “16nt 10x™

Barcode.”




271
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
272
            (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 4 (cropped)
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”: CG00052
SingleCell3'ReagentKitv2UserGuide_RevD.pdf
273
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
274
            (CG000108_AssayConfiguration_SC3v2.pdf)
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)

                                                167
               347.    As shown below275, the “30nt Poly(dT) primer sequence” is a target-

binding region that binds the poly(A) sequence at the 3’ ends of RNA molecules.276




               348.    The Single Cell 5’ Workflow Accused Products meet the “wherein each

of said plurality of oligonucleotides comprises a cellular label sequence, a target-binding region,

and a molecular label sequence, and wherein the cellular label sequence of each of the plurality

of oligonucleotides is the same,” limitation (a) of claim 17 of the ’799 patent because each

oligonucleotide of the bead comprises a “16nt 10x barcode,” (shown in bright green in Figure 1

and below277) which is a cellular label sequence,278 a “10nt Unique Molecular Identifier (UMI),”


275
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
276
           (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf)
277
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Table 1 (cropped)

                                                168
(shown in red in Figure 1 and below) which is a molecular label sequence, and a “13nt Switch

Oligo,” (shown in dark green in Figure 1 and below) which is a target-binding region.279

               349.    The “16nt 10x™ Barcode,” is a cellular label sequence which is the same

for each of the plurality of oligonucleotides. “The 10x™ GemCode™ Technology . . . separately

index[es] each cell’s transcriptome. It does so by partitioning thousands of cells into nanoliter-

scale Gel Bead-In-EMulsions (GEMs), where all generated cDNA share a common 10x

Barcode.”280 Thus, each oligonucleotide on a particular bead has the same “16nt 10x™

Barcode.”




               350.    As shown below281, the “13nt Switch Oligo” is a target-binding region that

binds the “CCC” sequence at the ’3 ends of a cDNA molecule.282




278
    “[A]ll generated cDNA share a common 10x Barcode. Libraries are generated and sequenced
from the cDNA and the 10x Barcodes are used to associate individual reads back to the
individual partitions.” See “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
279
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)
280
    “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
281
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries”
282
            (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Figure 3 (cropped)
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                                169
               351.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “at least 100 of said plurality of oligonucleotides comprise different molecular

label sequences” limitation (a) of claim 17 of the ‘799 patent because “[t]he 10x™ GemCode™

Technology samples a pool of ~ 750000 barcodes to separately index each cell’s

transcriptome”283 according to a method wherein “[e]ach Gel Bead contains millions of oligo

primers.”284


283
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
284
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)

                                               170
                   352.   The Single Cell 3’ Workflow and Single Cell 5’ Workflow Accused

Products meet the “lysing said single cell, thereby releasing nucleic acid targets from said cell”

limitation (b) of claim 17 of the ’799 patent because “[o]nce partitioned, the Gel Bead dissolves

and its oligo primers are released into the aqueous environment of the GEM. The cell captured in

the GEM is also lysed. The contents of the GEM (oligos, lysed cell components and Master Mix)

are incubated in an RT reaction to generate full-length, barcoded cDNA from the poly A-tailed

mRNA transcripts.”285 The poly A-tailed mRNA transcripts are nucleic acid targets release from

the cell.

                   353.   The Single Cell 3’ Workflow Accused Products meet the “attaching said

nucleic acid targets to said plurality of oligonucleotides” limitation (c) of claim 17 of the ’799

patent because “[u]pon dissolution of the Single Cell 3’ Gel Bead in a GEM, primers . . . are

released and mixed with cell lysate and Master Mix. Incubation of the GEMs then produces

barcoded, full-length cDNA from poly-adenylated mRNA.”286 As shown below,287 the poly A-

tailed mRNA transcripts released from lysing the cell hybridize to the “30nt Poly(dT) primer

sequence” and are thus attached to said plurality of oligonucleotides. The subsequent reverse

transcriptase reaction “generate[s] full-length, barcoded cDNA from the poly A-tailed mRNA

transcripts.”288




285
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries” (CG000108_AssayConfiguration_SC3v2.pdf); “TECHNICAL NOTE Assay Scheme
and Configuration of Chromium™ Single Cell V(D)J Libraries”
(CG000109_AssayConfiguration_VDJ_RevD.pdf)
286
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)
287
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell 3’ v2
Libraries”
288
           (CG000108_AssayConfiguration_SC3v2.pdf) at Figure 3 (cropped)
    “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3_ReagentKitv2UserGuide_RevD.pdf)

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               354.    The Single Cell 5’ Workflow Accused Products meet the “attaching said

nucleic acid targets to said plurality of oligonucleotides” limitation (c) of claim 17 of the ‘799

patent because “[u]pon dissolution of the Single Cell 5’ Gel Bead in a GEM, oligonucleotides . .

. are released and mixed with cell lysate and Master Mix that contains reverse transcription (RT)

reagents and poly(dT) primers. Incubation of the GEMs then produces barcoded, full-length

cDNA from poly-adenylated mRNA.”289 As shown below,290 the poly A-tailed mRNA

transcripts released from lysing the cell are reverse transcribed into cDNA, the 3’ end of which

hybridizes to the “13nt Switch Oligo.” Thus, the poly A-tailed mRNA transcripts released from




289
    “Chromium™ Single Cell V(D)J Reagent Kits User Guide”
(CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)
290
    “TECHNICAL NOTE Assay Scheme and Configuration of Chromium™ Single Cell V(D)J
Libraries” (CG000109_AssayConfiguration_VDJ_RevD.pdf) at Figure 3 (cropped)

                                                172
lysing the cell are attached to said plurality of oligonucleotides via hybridization with the cDNA

which is hybridized to the “13nt Switch Oligo” of the plurality of oligonucleotides.




               355.   10X has also induced and currently induces infringement of at least claim

17 of the ’799 patent under 35 U.S.C. § 271(b) by providing to customers the Accused Products,

along with directions for use that, when followed in an intended manner and in a normal mode of

operation, 10X knows infringes at least claim 17 of the ’799 patent.291 10X has known of the

’799 patent and of its infringement of that patent since at least May 2017. By providing its


291
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

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customers with the Accused Products and those directions for use, 10X specifically intends that

its customers infringe the ’799 patent.

               356.    10X has contributorily infringed and currently contributorily infringes

under 35 U.S.C. § 271(c) at least claim 17 of the ’799 patent. 10X has designed the Accused

Products specifically to be used in a manner as claimed at least claim 17 of the ’799 patent.292 As

such, the Accused Products are a material component of the patented combination, specifically

designed to be used according to at least claim 17 of the ’799 patent, and especially made and

adapted for use in a manner that infringes at least claim 17 of the ’799 patent. The Accused

Products are not staple articles of commerce and they do not have substantial uses that do not

infringe at least claim 17 of the ’799 patent. 10X has knowledge of the ’799 patent and is aware

that the Accused Products are especially made to be used in a system that infringes the ’799

patent.

               357.    Defendant’s infringement has been willful and deliberate because

Defendant has known of the ’799 patent since at least May 2017 and knew or should have known

of its infringement but acted despite an objectively high likelihood that such acts would infringe

the ’799 patent.

               358.    As the direct and proximate result of Defendant’s conduct, Plaintiffs have

suffered and, if Defendant’s conduct is not stopped, will continue to suffer, severe competitive

harm, irreparable injury, and significant damages, in an amount to be proven at trial. Because

Plaintiffs’ remedy at law is inadequate, Plaintiffs seek, in addition to damages and injunctive

relief. Plaintiffs’ business operates in a competitive market and will continue suffering

irreparable harm absent injunctive relief.

292
  See, e.g., “Chromium™ Single Cell 3’ Reagent Kits v2 User Guide”
(CG00052_SingleCell3'ReagentKitv2UserGuide_RevD.pdf); “Chromium™ Single Cell V(D)J
Reagent Kits User Guide” (CG000086_SingleCellVDJReagentKitsUserGuide_RevD.pdf)

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                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs BD and Cellular Research pray for relief and judgment that:

          a.     10X has infringed the Asserted Patents;

          b.     Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining

10X, its officers, agents, servants, and employees, and those persons in active concert or

participation with any of them, from manufacturing, using, offering for sale, selling in the United

States, or importing into the United States, the Accused Products, and any other product that

infringes or induces or contributes to the infringement of the Asserted Patents, prior to the

expiration date of the last to expire of those patents;

          c.     Plaintiffs are entitled to an award of damages pursuant to 35 U.S.C. § 284,

including pre-judgment and post-judgment interest;

          d.     10X’s infringement of the Asserted Patents has been willful and Plaintiffs are

entitled to enhanced damages up to and including trebling of the damages awarded to them;

          e.     Plaintiffs are entitled to their costs and reasonable expenses to the fullest extent

permitted by law;

          f.     This case is exceptional pursuant to 35 U.S.C. § 285, and plaintiffs are entitled to

an award of attorneys’ fees; and

          g.     Plaintiffs are entitled to other and further relief as the Court may deem just and

proper.

                                   DEMAND FOR JURY TRIAL

          Pursuant to Federal Rule of Civil Procedure 38(b), BD and Cellular Research hereby

demand a trial by jury on all issues so triable.




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                                 /s/ Michael J. Flynn

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February 8, 2019




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2019, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

February 8, 2019, upon the following in the manner indicated:

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                                             /s/ Michael J. Flynn
                                             _______________________________
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